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               MEMORANDUM                                     DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                                                     PUBLIC HEALTH SERVICE
                                                                   FOOD AND DRUG ADMINISTRATION
                                                              CENTER FOR DRUG EVALUATION AND RESEARCH


               TO:                 FILE
                                                                                               (b)(6f
               FROM:
                                                                                                             Date: 2022.12.23 13:1 1:43 --05'00'


               DATE:               December 23, 2022

               SUBJECT:            Review of Supplemental Drng Applications Proposing Modifications to the
                                   Mifepristone REMS Program


               FDA is cunently reviewing a supplemental new dmg application from Danco Laboratories, LLC
               (Danco) and a supplemental abbreviated new dmg application from GenBioPro, Inc. (GBP) that
               propose to modify the Mifepristone Risk Evaluation and Mitigation Strategy (REMS) Program
               as approved under Danco 's new chug application for Mifeprex (mifepristone) (NDA 020867) and
               GBP' s abbreviated new ch·ug application for Mifepristone Tablets 200 mg (ANDA 091178).
               Citing the Comstock Act, 18 U.S.C. §§ 1461 , 1462, Plaintiffs in Alliance for Hippocratic
               Medicine v. US. Food and Drug Administration, No. 2:22-cv-00223-Z (N.D. Tex.), have alleged
               that FDA' s actions regarding mifepristone do not comply with "federal laws that expressly
               prohibit the mailing or delive1y by any letter canier, express company, or other common canier
               of any substance or chug intended for producing aboliion" and also that FDA "failed to
               acknowledge and address" those laws. Complaint ,r,r 22, 392 (Nov. 18, 2022). This
               memorandum notes that the Office of Legal Counsel of the United States Department of Justice,
               which provides controlling advice to Executive Branch officials on questions of law, has
               concluded that the Comstock Act provisions cited by Plaintiffs "[do] not prohibit the mailing of
               mifepristone or misoprostol where the sender lacks the intent that the recipient will use them
               unlawfully. And in light of the many lawful uses of mifepristone and misoprostol, the fact that
               these ch11gs are being mailed to a jurisdiction that significantly restricts aboliion is not a
               sufficient basis for concluding that the mailing violates [these provisions]." Memorandum for
               Thomas J. Marshall, General Counsel, United States Postal Se1vice, from Christopher H.
               Schroeder, Assistant Attorney General, Office of Legal Counsel, Re: Application of the
               Comstock Act to the Mailing ofPrescription Drugs That Can Be Used for Abortions, at 15
               (December 23, 2022). 1 Thus, even if the Comstock Act provisions bear on FDA's analysis of
               the pending supplemental chug applications, in light of the conclusions set fo1ih by the Office of
               Legal Counsel, they pose no issue for FDA's approval of the applications.




               1 The    Office of Legal Cotmsel's analysis applies to 18 U.S.C. § 1461 and§ 1462. See id. at 1 n.3.




                                                                                                                      MPI App. 890
Reference ID: 5100604
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                           AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC
MEDICINE, on behalf of itself, its member
organizations, their members, and these
members' patients, et al.,
                                                 Case No. 2:22-cv-00223-Z
            Plaintiffs,

       v.

U.S. FOOD AND DRUG
ADMINISTRATION, et al.,

            Defendants.

                  DECLARATION OF DR. DONNA HARRISON

      I, Donna Harrison, a citizen of the United States of America and a resident of

Berrien Center, Michigan, declare under penalty of perjury under 28 U.S.C. § 1746

that the following is true and correct to the best of my knowledge.

   1. I am over eighteen years old and make this declaration on personal

      knowledge.

   2. I am a board-certified obstetrician and gynecologist.

   3. I received my medical degree from the University of Michigan and completed

      my residency at a University of Michigan affiliate hospital, St. Joseph Mercy

      Hospital.

   4. I am a diplomate of the American Board of Obstetrics and Gynecology.

   5. I serve as the Chief Executive Officer of Plaintiff American Association of

      Pro-Life Obstetricians and Gynecologists (AAPLOG).



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 6. I also serve as the Chair of the Board of Plaintiff Alliance for Hippocratic

    Medicine (ARM).

 7. I am familiar with AAPLOG, its members, their fields of practice, and

    AAPLOG's policies and positions, including as set forth in the complaint,

    which I have reviewed.

 8. AAPLOG is the largest organization of pro-life obstetricians and

    gynecologists ("OB/Gyns") in the world and is headquartered in Fort Wayne,

    Indiana. AAPLOG membership includes more than 6,000 medical

    professionals nationwide and more than 300 members in Texas. AAPLOG

     members practice in accordance with the Hippocratic oath, which forbids

     physician participation in killing their preborn patients in elective abortion.

    AAPLOG members are committed to the care and well-being of both of their

     patients including both pregnant women and the human beings in their

     womb. AAPLOG members are concerned about the serious adverse impacts of

     chemical abortion on both of their patients as well as on the practice of

     medicine.

  9. I am also familiar with ARM, its members, their members' fields of practice,

     and AHM's policies and positions, including as set forth in the complaint,

     which I have reviewed.

  10.AHM is a nonprofit organization that upholds and promotes the fundamental

     principles of Hippocratic medicine, which includes a prohibition on physician




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    involvement in killing their patients. ARM is incorporated in the State of

    Texas and has its registered agent in Amarillo, Texas.

 11.ARM's members include the American Association of Pro-Life Obstetricians

    and Gynecologists, American College of Pediatricians, Catholic Medical

    Association, Christian Medical and Dental Associations, and Coptic Medical

    Association of North America. In opposing chemical abortion, ARM's

    members are concerned about the safety and well-being of pregnant women

     and girls, their preborn children, and chemical abortion's adverse impacts on

     the practice of medicine.

  12. Through my work at AAPLOG and now ARM, I reviewed the studies on

     which the FDA has relied to make its 2016 Major Changes. The FDA

     identified these studies in its Summary Review document. App. 624--52.

  13. The 2016 Summary Review "serves as the Division's decisional

     memorandum." Id. 628. The FDA noted that "[a]s these major changes are

     interrelated, in some cases data from a given study were relied on to provide

     evidence to support multiple changes." Id. 630.

  14.As stated in Plaintiffs Complaint, App. 055-56, and Brief in Support of the

     Motion for Preliminary Injunction, p. 19, none of the studies on which the

     FDA relied were designed to evaluate the safety and effectiveness of chemical

     abortion drugs for use under the conditions prescribed, recommended, or

     suggested in the proposed labeling.




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                                                                     MPI App. 893
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 15. Not only did the FDA rely on studies that evaluated a drug regimen that did

    not match the labeling in the 2016 Major Changes, but the agency also took a

    piecemeal approach to evaluating the safety and effectiveness of its removal

    of necessary safeguards. App. 055-56. Safety must be evaluated under the

    totality of the proposed conditions of use, not each change in isolation of the ·

    other conditions. None of the cited studies actually mirrored the totality of

    changes in conditions of use allowed by the FDA 2016 Major Changes. Thus,

    none of the cited studies provides meaningful safety data to support the

    sweeping changes FDA made in 2016.

 16. In Column A of the chart below, I have identified the studies that the FDA

    cited in its Summary Review. Column B identifies the major changes in the

    2016 regimen for which FDA cited that study as support. Column C shows

    the conditions of use in the study that significantly differ from the conditions

    of use allowed in the approved 2016 label. Thus, Column C demonstrates why

    the particular cited study fails to show the safety of chemical abortion drugs

    for use under the conditions prescribed, recommended, or suggested in the

    proposed labeling of the 2016 Major Changes.




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                                                                       MPI App. 894
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         Study              FDA cited the study in       Aspects of the study which
                           support of the following significantly deviate from
                               Major Change(s)          the conditions of use allowed
                                                         by the 2016 Major Changes,
                                                             rendering the citation
                                                          invalid for showing safety
                                                        under the 2016 label chano-es
Grossman D, Grindlay       • Decrease mifepristone      • All patients had their
K, Buchacker T, Lane         dose from 600 to 200           gestational age confirmed by
K, Blanchard K.              mg, followed by                an ultrasound, which ruled
Effectiveness and            misoprostol at a dose         out ectopic pregnancy and
acceptability of medical     increased from 400 mcg         determined the exact
abortion provided            to 800 mcg,                    gestational age.
through telemedicine.        administered buccally      •  All  patients had witnessed
Obstet Gynecol               instead of orally              ingestion of mifepristone but
2011;118:296-303.          • Administration of              unknown time interval
                             misoprostol at 24-48          between mifepristone
                             hours instead of 48            ingestion and misoprostol
                             hours after Mifeprex           ingestion.
                           • Follow-up, although still • All patients had an in-person
                             needed, not restricted to      follow-up visit at 2 weeks
                             in clinic at 14 days after     after taking mifepristone,
                             Mifeprex                       and an ultrasound was
                                                            performed to ensure
                                                            completion of the abortion.
                                                        • The study was limited to 63
                                                            davs' gestation or less.




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                                                                         MPI App. 895
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Goldstone P, Michelson   • Decrease mifepristone    •
                                                   Retrospective chart review
J, Williamson E. Early     dose from 600 to 200    study conducted in Australia.
medical abortion using     mg, followed by       • All  patients had gestational
low-dose mifepristone      misoprostol at a dose   age and pregnancy location
followed by buccal         increased from 400 mcg  confirmed by ultrasound.
misoprostol: A large       to 800 mcg,           • All  patients had witnessed
Australian                 administered buccally   ingestion of mifepristone but
observational study.       instead of orally       unknown time interval
Med J Austral 2012;                                between mifepristone
197: 282-6.                                        ingestion and misoprostol
                                                   ingestion.
                                                 • 85% of patients who
                                                   completed the study had in-
                                                   person follow-up exam with
                                                   ultrasound to confirm
                                                   completion of abortion.
                                                 • The study was limited to 63
                                                    days' gestation or less.
                                                 • All  women who were Rh
                                                    negative received Rhogam.
                                                 • Women at high risk of
                                                    infection received
                                                    prophvlactic antibiotics.
Upadhyay UD, Desai S, • Decrease mifepristone    • Retrospective study reviewed
Lidar V, Waits TA,        dose from 600 to 200      Medicaid diagnosis codes for
Grossman D, Anderson      mg, followed by           complications treated in the
P, Taylor D. Incidence of misoprostol at a dose     ER after abortion, but study
emergency department      increased from 400 mcg    failed to provide the
visits and complications  to 800 mcg,               conditions to determine
after abortion. Obstet    administered buccally     applicability to proposed
Gynecol                   instead of orally         labeling.
2015;125(1):175-183. 21                          • The study was limited 63
                                                   days' gestation or less.




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                                                                    MPI App. 896
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Winikoff B, Dzuba IG,    • Decrease mifepristone     •   Women required to be at
Creinin MD, Crowden        dose from 600 to 200          least 18 years old.
WA, Goldberg AB,           mg, followed by           •   Ultrasound performed to
Gonzales J, Howe M,        misoprostol at a dose         confirm gestational age of 57-
Moskowitz J,               increased from 400 mcg        70 days.
Prine L, Shannon CS.       to 800 mcg,               •   All patients had access to
Two distinct oral routes   administered buccally         emergency transportation
of misoprostol in          instead of orally             and a telephone.
mifepristone medical     • Addition that a repeat    •   Some patients were given
abortion: a                800 mcg buccal dose of        antibiotics while others were
randomized controlled      misoprostol may be used       not.
trial. Obstet Gynecol      if needed                 •   All patients had in person
2008; 112(6): 1303-1310. • Increase the maximum          follow-up exam at the facility
                           gestational age from 49       7-14 days after mifepristone
                           days to 70 days               and had ultrasound to check
                                                         for retained tissue.

Middleton T, et al.     • Decrease mifepristone      •   All women had ultrasound to
Randomized trial of       dose from 600 to 200           determine gestational age.
mifepristone and buccal   mg, followed by            •   The study was limited to 56
or vaginal misoprostol    misoprostol at a dose          days' gestation or less.
for abortion              increased from 400 mcg     •   Women required to be at
through 56 days oflast    to 800 mcg,                    least 18 years old, or at least
menstrual period.         administered buccally          16 years old with one
Contraception 2005; 72:   instead of orally              parent's consent.
328-32                                               •   All women had observed
                                                         ingestion of mifepristone in
                                                         person.
                                                     •   All women who were Rh
                                                         negative received Rhogam.
                                                     •   All women returned for an
                                                         in-person follow-up exam
                                                         before 15 days, which
                                                         included an ultrasound to
                                                         evaluation retained tissue.




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                                                                       MPI App. 897
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Gatter M, Cleland K,    • Decrease mifepristone      •   All patients had an
Nucatola DL. Efficacy     dose from 600 to 200           ultrasound to determine
and safety of medical     mg, followed by                gestational age.
abortion using            misoprostol at a dose      •   All patients ingested
mifepristone and buccal   increased from 400 mcg         mifepristone in the clinic.
misoprostol through 63    to 800 mcg,                •   All patients returned for in-
days. Contraception       administered buccally          person follow up visit at 10-
2015; 91:269-273          instead of orally              14 days after taking
                        • Removal of the                 mifepristone.
                          instruction that           •   All patients received
                          administration of              prophylactic antibiotics.
                          misoprostol must be
                          done in clinic, to allow
                          for administration at
                          home or other location
                          convenient for the
                          woman
                        • Administration of
                          misoprostol at 24-48
                          hours instead of 48
                          hours after Mifeprex
                        • Increase in the
                          maximum gestational
                          age from 49 days to 70
                          davs
Raymond EG & Grimes • Removal of the                 •   This study has nothing
DA. The comparative       instruction that               whatsoever to do with
safety of legal induced   administration of              misoprostol administration.
abortion and childbirth   misoprostol must be
in the United States.     done in clinic, to allow
Obstet Gynecol 2012;      for administration at
119: 215-9                home or other location
                          convenient for the
                          woman




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                                                                        MPI App. 898
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Raymond EG, et. al.       •   Removal of the               •   This is not a clinical trial but
First-trimester medical       instruction that                 rather a re-analysis of
abortion with                 administration of                different studies under
mifepristone 200 mg           misoprostol must be              different non-comparable
and misoprostol: a            done in clinic, to allow         conditions at multiple
systematic review.            for administration at            locations around the world.
Contraception 2013;           home or other location       •   Of the 87 trials reviewed,
87(1): 26-37.                 convenient for the               only 19 were performed in
                              woman                            the United States.
                          •   Follow-up, although still    •   Of those 19 trials, 11 studied
                              needed, not restricted to        vaginal misoprostol
                              in clinic at 14 days after       exclusively. Of the remaining
                              Mifeprex                         trials, only four studies
                          •   Increase in the                  analyzed buccal misoprostol.
                              maximum gestational              In one study the buccal
                              age from 49 days to 70           misoprostol was
                              days                             administered simultaneously
                                                               with mifepristone.
                                                           •   Gestational age determined
                                                               by ultrasound or clinical
                                                               examination.
                                                           •   Half of trial groups required
                                                               ultrasound to assess failure.
                                                           •   The study limited to 63 days'
                                                                e:estation or less.
Ireland LD, Gatter M,     •   Removal of the               •   All patients had an
Chen AY. Medical              instruction that                 ultrasound to determine
compared with surgical        administration of                 gestational age.
abortion for effective        misoprostol must be          •   Patients given mifepristone
pregnancy termination         done in clinic, to allow         in the clinic at time of visit.
in the first trimester.       for administration at        •   All patients had one week
Obstet Gynecol                home or other location            follow-up exam with
2015;126:22-8.                convenient for the                ultrasonography.
                              woman                        •    The study limited to 63 days'
                          •   Administration of                 gestation or less .
                              misoprostol at 24-48
                              hours instead of 48
                              hours after Mifenrex




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                                                                              MPI App. 899
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Wedisinghe L and         • Administration of          •       This is not a clinical trial but
Elsandabesee D.            misoprostol at 24-48               rather a review of other
Flexible mifepristone      hours instead of 48                studies. Five studies were
and misoprostol            hours after Mifeprex               reviewed. None of the 5
administration interval                                       studies looked at buccal
for first-trimester                                           misoprostol.
medical termination.                                  •       Studies included in-person
Contraception 2010;                                           follow-up office visit with
81(4): 269-74. doi:                                           ultrasound after taking
10.1016/                                                      drugs.
j.contraception.2009.09.
007. Enub Oct 29, 2009.
Creinin MD, Fox MC,      • Administration of          •        This study examined
Teal S, Chen A, Schaff     misoprostol at 24-48                vaginal administration of
EA, Meyn LA. MOD           hours instead of 48                 misoprostol, not buccal
Study Trial Group: A       hours after mifepristone            administration.
randomized comparison • Addition that an 800          •        All women had an
of misoprostol 6-8 hours   mcg buccal dose of                  ultrasound to determine
versus 24 hours after      misoprostol may be used             gestational age.
mifepristone for           if needed.                 •        All women had in-person
abortion. Obstet                                               evaluations to rule out
Gynecol 2004; 103: 851-                                        contraindications including
859                                                            labs for anemia and Rh
                                                               type.
                                                          •    All women who were Rh
                                                               negative received Rhogam.
                                                          •    Patients returned for two
                                                               in-person follow-up visits (7
                                                               days and 14 days) where an
                                                               ultrasound was performed
                                                               at each visit.




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                                                                              MPI App. 900
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Shaw KA, Topp NJ,         • Administration of      •   This is not a clinical trial but
Shaw JG, Blumenthal         misoprostol at 24-48       rather a review of other
PB. Mifepristone-           hours instead of 48        studies.
misoprostol dosing          hours after Mifeprex   •   All of the studies reviewed
interval and effect on                                 used mifepristone and
induction abortion                                     misoprostol for gestational
times. Obstet Gynecol                                  ages between 12 and 20
2013; 121(6): 1335-1347                                weeks.
                                                   •   Most studies in this review
                                                       were not conducted in United
                                                       States.
                                                   •   Studies included buccal,
                                                       vaginal, and oral routes of
                                                       administration.
Phelps RH, et al.        • Administration of       •   Pilot study included only 28
Mifepristone abortion in   misoprostol at 24-48        girls (ages 14-17 years old).
minors. Contraception      hours instead of 48     •   Study examined vaginal, not
2001;64:339-343.           hours after Mifeprex        buccal, administration of
                                                       misoprostol.
                                                   •   All girls had an in-person
                                                       examination including
                                                       ultrasound to determine
                                                       gestational age.
                                                   •   The study was limited to 56
                                                       days or less gestation.
                                                   •   All were checked for anemia
                                                       and Rh type.
                                                   •   If Rh- then patient received
                                                       Rhogam.
                                                   •   Almost 1/3 of the girls had
                                                       in-person administration of
                                                       vaginal misoprostol with a 4-
                                                       hour observation period
                                                       after.
                                                   •   Girls needed to live within 1
                                                       hour of research site.




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                                                                      MPI App. 901
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Niinimaki M, et. al.     • Administration of                •   Data from Finnish national
Comparison of rates of     misoprostol at 24-48                 database for abortions in
adverse events in          hours instead of 48                  Finland.
adolescent and adult       hours after Mifeprex
women undergoing
medical abortion:
population register
based study. BJM 2011;
342: d2111.
Ngoc NTN, et al.           Follow-up, although still        •   Study conducted in Vietnam.
Acceptability and          '
                           needed, not restricted to        •   Patients screened at in-
feasibility of phone       in clinic at 14 days after           person first visit.
follow-up after early      Mifeprex                         •   The study was limited to 63
medical abortion in                                             days' gestation or less.
Vietnam: A randomized                                       •   Standardcare compared
controlled trial. Obstet                                        with phone follow up only.
Gynecol 2014;123:88-95.                                         Standard care entailed 2-
                                                                week follow up in person
                                                                with exam and ultrasound.
                                                                Women with phone follow-up
                                                                had to complete a
                                                                semiquantitative urine
                                                                pregnancy test and if the
                                                                urine hCG dropped by one
                                                                interval, the abortion was
                                                                considered "a success."
Cameron ST, Glasier A,     •   Follow-up, although still    •   Gestational age determined
Johnstone A, Dewart H,         needed, not restricted to        by ultrasound
Campbell A. Can                in clinic at 14 days after   •   Data collected from Scotland.
women determine the            Mifeprex                     •   The regimen used vaginal,
success of early medical                                        not buccal, administration.
termination of
pregnancy themselves?
Contraception
2015;91:6-ll.




                                              12
                                                                              MPI App. 902
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Winikoff B, Dzuba IG,      • Increase in the            •   Gestational age confirmed by
Chong E, et al.              maximum gestational            ultrasound.
Extending outpatient         age from 49 days to 70     •   Women were at least 18
medical abortion             days                           years old.
services through 70        • Addition that a repeat     •   Study required in-person
days of gestational age.     800 mcg buccal dose of         follow-up visit with
Obstet Gynecol 2012;         misoprostol may be used        ultrasound.
120: 1070-6                  if needed                  •   Providers intervened
                                                            surgically if necessary or at
                                                            woman's request.
Boersma M, Meyboom- • Increase in the                   •   Gestational age confirmed by
de Jong B, Kleiverda G.       maximum gestational           ultrasound.
Mifepristone followed by      age from 49 days to 70    •   Study conducted in Curacao.
home administration of        days
buccal misoprostol for      • Addition that a repeat
medical abortion up to        800 mcg buccal dose of
70 days of amenorrhoea        misoprostol may be used
in a general practice in      if needed
Curacao. Eur J
Contracept Reprod
Health Care 2011; 16:
61-6
Sanhueza Smith P,           • Increase in the           •   Study performed in Mexico.
Pena M, Dzuba IG, et          maximum gestational       •   Women had initial in person
al. Safety, efficacy and      age from 49 days to 70        visit where they swallowed
acceptability of              days                          mifepristone in the clinic.
outpatient mifepristone-
misoprostol medical
abortion through 70
days since last
menstrual period in
public sector facilities in
Mexico City. Reprod
Health Matters 2015;
22: 75-82




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                                                                         MPI App. 903
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Olavarrieta CD,          • Increase in the          •   Study performed in Mexico.
Ganatra B, Sorhaindo       maximum gestational      •   All participants received in-
A, Karver TS, Seuc A,      age from 49 days to 70       person examination and
Villalobos A, Garcia SG,   days                         ultrasound at first visit to
Perez M, Bousieguez M,                                  determine gestational age
Sanhueza P. Nurse                                       and rule out ectopic
versus physician-                                       pregnancy and other
provision of early                                      contraindications.
medical abortion in                                 •   All participants had an in-
Mexico: a randomized                                    person follow-up visit at 7-14
controlled non-                                         days with ultrasound to
inferiority trial. Bull                                 confirm complete passage of
World Health Organ                                      tissue.
2015; 93: 249-258
Chen MJ, Creinin MD. • Increase in the              •   This is not a clinical trial but
Mifepristone with          maximum gestational          rather a review of published
Buccal Misoprostol for     age from 49 days to 70       studies, including many of
Medical Abortion Obstet    days                         which are independently
Gynecol: a Systematic                                   reviewed in this spreadsheet.
Review. Obstet Gynecol                              •   The study was limited to 63
2015; 126(1): 12-21                                     davs' !!estation or less.




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                                                                        MPI App. 904
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Louie KS, Tsereteli T,   • Addition that a repeat    •   The study was performed in
Chong E, Ailyeva F,        800 mcg buccal dose of        Azerbaijan.
Rzayeva G, WinikoffB.      misoprostol may be used   •   The study included only
Acceptability and          if needed                     women 63 days' gestation or
feasibility of                                           less.
mifepristone medical                                 •   Participants had gestational
abortion in the early                                    age evaluated by history,
first trimester in                                       exam, or ultrasound, but no
Azerbaijan. Eur J                                        data was included on what
Contracept Reprod                                        percent had these
Health Care 2014; 19(6):                                 determinations.
457-464                                              •   Study included women ages
                                                         18 or older.
                                                     •   Women swallowed
                                                         mifepristone in person in the
                                                         clinic and then either took
                                                         misoprostol buccally
                                                         immediately in the clinic, or
                                                         took later at home. Later
                                                         study changed to sending
                                                         women home with
                                                          mifepristone and
                                                          misoprostol.
                                                     •   Two-week in-person follow-
                                                         up exam at which time some
                                                          women were evaluated with
                                                          ultrasound (unknown%).




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                                                                       MPI App. 905
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Chong E, Tsereteli T,       •   Addition that a repeat   •   The study was conducted in
Nguyen NN, Winikoff B.          800 mcg buccal dose of       the Republic of Georgia and
A randomized controlled         misoprostol may be           in Vietnam.
trial of different buccal       used if needed           •   The study included only
misoprostol doses in                                         women 63 days' gestation or
mifepristone medical                                         less.
abortion. Contraception                                  •   Ultrasound was required at
2012; 86: 251-256                                            in-person visit.          . ...
                                                         •   Contraindications excluded
                                                             from study.
                                                         •   Women swallowed the
                                                             mifepristone at the clinic.
                                                             Then randomized to 400
                                                             buccal misoprostol or 800
                                                             buccal misoprostol to be
                                                             taken at home.
                                                         •   Women had in-person follow-
                                                             un visit at two weeks.
Coyaji K, Krishna U,        •   Addition that a repeat   •   The study was performed in
Ambardekar S, Bracken           800 mcg buccal dose of       India.
H, Raote V, Mandlekar           misoprostol may be       •   The study had an inclusion
A, Winikoff B. Are two          used if needed                criteria "8 weeks of
doses of misoprostol                                          amenorrhea."
after mifepristone for                                   •    Gestational aged determined
early abortion better                                         by clinical exam, LMP, and
than one? BJOG                                                at times ultrasound (used as
2007;114:271-278.                                             needed to determine age and
                                                              ectopic pregnancy).
                                                         •    Misoprostol dose was not
                                                              comparable to U.S. regimen:
                                                              women were given 400 mcg
                                                              of oral misoprostol, not
                                                              buccal. Then the oral dose
                                                              was repeated.
                                                         •    Women were observed up to
                                                              6 hours in the clinic.
                                                         •    Required in-person visit in 2
                                                              weeks with ultrasound for
                                                              some.




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                                                                            MPI App. 906
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Gallo MF, Cahill S,       • Addition that a repeat       •   This is not a clinical trial but
Castelman L, Mitchell       800 mcg buccal dose of           rather a review of three
EMH. A systematic           misoprostol may be used          studies, which investigated
review of more than one     if needed                        repeat misoprostol doses.
dose of misoprostol after                                •   None of those studies looked
mifepristone for                                             at buccal administration of
abortion up to 10 weeks                                      misoprostol.
gestation. Contraception
2006;7 4:36-41.
Warriner IK, Wang D,      • Change of "physician" to     •   The study was conducted in
Huong NTM, Thapa K,         "healthcare provider" in         Nepal.
Tamang A, Shah I et al.     the label and Risk           •   The study was limited to 63
Can midlevel health-        Evaluation and                   days' gestation or less and
care providers              Mitigation Strategies            age confirmed by pelvic exam
administer early            (REMS) document                   andLMP.
medical abortion as                                      •   In-person vaginal
safely and effectively as                                     administration three days
doctors? A randomized                                        later of misoprostol by the
controlled equivalence                                        assigned abortion provider.
trial in Nepal. Lancet                                       After misoprostol placement,
2011; 377: 1155-61                                            the woman was observed in
                                                              the hospital for 3 hours.
                                                         •    Women had an in-person
                                                              return visit in 10-14 days.
Kopp Kallner H, Fiala     •   Change of "physician" to   •    The study was conducted in
C, Stephansson 0,             "healthcare provider" in        Sweden.
Gemzell-Danielsson K.         the label and Risk         •    Gestational age confirmed by
Home self-                    Evaluation and                  ultrasound and exam.
administration of             Mitigation Strategies      •    Mifepristone administered in
vaginal misoprostol for       (REMS) document                 the hospital under direct
medical abortion at 50-                                       observation.
63 days compared with                                    •    Women self-administered
gestation of below 50                                         vaginal misoprostol at home.
days. Human Reprod                                       •   Women had an in-person
2010;25(5): 1153-1157.                                       follow-up exam after 2 weeks.
                                                         •    The study was limited to
                                                              gestational ages between 50-
                                                              63 days.




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•    The Danco Group



      January 21 , 2000




      ----- -------
     . ,__,,-
      Division of Reproductive and
       Urologic Drug Products (HFD~580)
      Attention: Document Control Room 178-20
      Office of Drug Evaluation II
      Center for Drug Evaluation and Research
      Food and Drug Administrafion
      5600 Fishers Lane
      Rockville, MD 20857

      Re:        NOA 20-687, Mifepristone 200mg Oral Tablets
                       Amendment 039          Mifeprex® - Distribution Plan



•     D e a r - - - - - - -----.- - - - -

      As previously agreed, we are submitting Danco Laboratories, lnc.'s Distribution Plan for
      Mifeprex®. This is a comprehensive distribution plan that emphasizes control of
      mifepristone at all points in the supply chain, from manufacturers through to individual
      patients. This plan has been prepared in light of the unique situation surrounding
      abortion provision in the United States and not out of any medical safety concerns.
      However, in preparation of this plan, we have taken into account advice from the FDA
      that it is considering approving the NOA under "Subpart H-Accelerated Approval of
      New Drugs for Serious or Life-Threatening Illnesses, Sec. 314.520--Approval with
      restrictions to assure safe use ."

      Our position is that we are willing to agree with the FDA on appropriate distribution
      controls for mifep-riston~ but that the application of Sec. 314 .520 under Subpart H
      seems unnecessary, in light of our voluntary acceptance of some <'lppropriate
      distribution controiS:- -

      Specifically, Sec. 314: 5.20(a) states that the FDA can apply post-marketing restrictions if
      it "concludes that a drug product shown to be effective can be safely used only if
      distribution or use is restricted" (emphasis added) . Regardless of the distribution
      system for mifepristone , the medical safety of this drug is well documented in our IND
      application and in the l"!bel and , thus, we believe that Sec. 314 .520 does not apply .




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 On the contrary, scien~tie,evidence demonstrates that mifepristone is an exceptionally
 safe drug. Mifepristone: when taken by a woman whose pregnancy is:: 49 days LMP is
 associated with several" relatively minor and predictable side effects . More serious
 adverse events are quite rare and are related to the entire treatment (not mifep.ristone
 per se), almost always following the use of the prostaglandin. There has never been a
 death related to the use of mif epristone iri combination with misoprostol for medical
 termination of pregnancy . These details have been discussed and reported in our label
 and various submissions to the FDA.

 In addition to concerns about patient safety, the possibility of teratogenic effects has
 previously triggered the application of section 314.520, as in the case of Thalomid
 (Thalidomide). These concerns relate to the inadvertent use of a known teratogen at
 the early stages of a pregnancy that was not scheduled for termination . In contrast, all
 women who will receive mifepristone will be known to be in early pregnancy and have
 elected to terminate that pregnancy. Of course, in the case of a successful application
 of mifepristone, concerns about teratogenicity are rendered moot as the woman will no
 longer be pregnant. Similarly, in the case of a failed medical abortion, women should
 have a surgical intervention to terminate the pregnancy and are counseled to do so
 before taking mifepristone and misoprostol. To date , there is no compelling evidence to
 suggest that either mifepristone or misoprostol produces teratogenic effects.

 Based on the above reasons, we firmly believe that the NOA for mifepristone should not
 be approved under Sec. 314 .520. In addition, applying Sec. 314.520 might draw
 increased and unwarranted attention to the producl, the FDA, and to Danco and its
 manufacturers, in particular evoking queries about the product's safety. Nonetheless,
 given the contentious political climate surrounding all abortion provision in the United
 States, we feel that the distribution of mifepristone should be carefully monitored and
 controlled. Therefore, we have developed and are implementing a controlled distribution
 strategy and are submitting the details of this strategy in the enclosed Dislribution Plan
 for your review and comment .

  Sincerely,
    .. /S/                          n
   l.../   ~




  President and Chief Executive Officer

  /dns
  Enclosure

  cc:          ::...--------
               Sandra P. Arn old - Population Council
               Frederick H. Schmidt - Populat ion Council
               Pat ricia C Vauq :1an, Esq . - Population Council

                -
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                                MIFEPREX®

                         DISTRIBUTION PLAN


•                             January 21, 2000




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                                        MIFEPREX®

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                                         MIFEPREX®

                           • ,.    DISTRIBUTION PLAN

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•                                           MIFEPREX®

                                      DISTRIBUTION PLAN

                                     EXECUTIVE SUMMARY

    This Distribution Plan for Mifeprex® demonstrates Danco Laboratories Inc. ' s ("Danco")
    commitment to distributing Mifeprex® safely and efficiently while, at the same time,
    providing needed services and information to providers and patients in a confidential
    manner. Danco has a keen awareness of and sensitivity to the regulatory requirements, as
    well as the market and political dynamics, surrounding introduction of Mifeprex® in the
    United States. Therefore, Danco has established a controlled distribution strategy to
    best meet the goals of safe, efficient and confidential distribution of Mifeprex®.

     This strategy ensures that Danco exerts positive control over distribution of Mifeprex®
     through all phases of manufacturing, storage, shipment and administration from
     manufacturer to patient. Key control elements throughout the distribution process include
     the following:

     •    Secure manufacturing, receiving and holding areas for Mifeprex®




•
     •    Secure shipping procedures, including tamper-proof seals

     •    Controlled returns procedures

     •    Tracking ~ystem ability to trace individual packages to patient level, while
          maintaining patient confidentiality

     •    Use of only·            authorized distributors and a logistics partner, all of whom
          have necessary expertise, capabilities and industry experience to handle distribution
          requirements for Mifeprex®

     •    Required Account Registration and Order Form signed by providers, prior to any
          Mifeprex® orc!_~~_being shipped

     •    Mifeprex® availability only to registered providers, not through retail pharmacies

     •    Documented patient~acknowledgment (informed consent), signed by patient and
          provider          -

     Alongside key control elements, Danco also recognizes the need to provide support and
     access to training, services and information throughout the supply chain. The support
     that is built into the distnbution system is as follows:



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        Access to multi-media training materials and training programs with continuing
        medical education (CME).. recognition and credits.
                                  ~ ..




    ,   Danco toll-free telephone-information network for consumers and providers, with
f       access to medical consultants for providers' medical questions

    ,   Danco web site information network

    ,   Trained service representatives for distributors' questions through the logistics
        partner

    Danco has developed and assembled the infrastructure to ensure that Danco's goal of
    safe, efficient and confidential distribution of Mifeprex® is attained. The Distribution
    Plan for Mifeprex® details Danco's controlled distribution strategy, highlighting key
    control elements at each point in the supply chain.




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                                                  4                                            MPI App. 914
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                                                                                                                     LEGAL MEMORANDUM
                                                                                                                                     No. 324 | February 8, 2023
                                                                                       EDWIN MEESE III CENTER FOR LEGAL & JUDICIAL STUDIES




The Justice Department Is Wrong:
Federal Law Does Prohibit
Mailing Abortion Drugs
Thomas Jipping and Sarah Parshall Perry




                                                                                  F
                                                                                           irst under English common law, then under
   KEY TAKEAWAYS
                                                                                           American statutes, an “unbroken tradition of
                                                                                           prohibiting abortion on pain of criminal pun-
                                                                                  ishment”1 began more than seven centuries ago.2 By 1868,
   Federal law has prohibited mailing abor-
                                                                                 “a supermajority of States (at least 26 of 37) had enacted
   tion drugs for more than 100 years.
                                                                                  statutes criminalizing abortion at all stages of pregnancy.”3
                                                                                      Five years later, in 1873, in the middle of this national
                                                                                  pro-life legislative movement, Congress enacted a statute
   The Justice Department bypassed the                                            with an ambitious title: An Act for the Suppression of Trade
   statutory interpretation rules to invent a                                     in, and Circulation of, Obscene Literature and Articles of
   version of the Comstock Act that would                                         Immoral Use.4 It is often referred to as the Comstock Act
   not hinder abortion access.
                                                                                  after Anthony Comstock, the anti-vice crusader who cham-
                                                                                  pioned its passage and spent more than 40 years enforcing
   Congress has repeatedly chosen to
                                                                                  it as a U.S. Postal Service special agent.5 Section 2 of the
   maintain the Comstock Act’s plain lan-                                         Comstock Act appears today as 18 U.S.C. § 1461, prohibit-
   guage, which clearly prohibits mailing                                         ing the Postal Service from delivering, and anyone from
   abortion drugs.                                                               “knowingly” using the mail to send, any “article or thing
                                                                                  designed, adapted, or intended for producing abortion.”6



                                                                                  This paper, in its entirety, can be found at http://report.heritage.org/lm324

                                 The Heritage Foundation | 214 Massachusetts Avenue, NE | Washington, DC 20002 | (202) 546-4400 | heritage.org

Nothing written here is to be construed as necessarily reflecting the views of The Heritage Foundation or as an attempt to aid or hinder the passage of any bill before Congress.


                                                                                                                                                 MPI App. 915
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               This provision could not, as a practical matter, be enforced while the
            Supreme Court’s decisions in Roe v. Wade7 and Planned Parenthood v. Casey,8
            which invented and subsequently affirmed a constitutional right to abor-
            tion, remained operative precedents. That blockade lifted on June 24, 2022,
            when the Supreme Court in Dobbs v. Jackson Women’s Health Organization
            overruled Roe and Casey, holding that “the Constitution does not confer a
            right to abortion.”9
               One week later, the Postal Service’s general counsel asked the Depart-
            ment of Justice’s Office of Legal Counsel (OLC)10 whether § 1461 “prohibits
            the mailing of mifepristone and misoprostol, two prescription drugs that
            are commonly used to produce abortions.”11 In a written opinion dated
            December 23, 2022, the OLC concluded that “section 1461 does not prohibit
            the mailing, or the delivery or receipt by mail, of mifepristone or misopros-
            tol where the sender lacks the intent that the recipient of the drugs will use
            them unlawfully.”12
               The Postal Service should not see this as good news. The OLC did not
            explore the additional responsibilities that its interpretation of § 1461
            would impose upon the Postal Service. On its face, however, that interpre-
            tation means that, to know whether it may handle a particular mailing of
            abortion drugs, the Postal Service must identify its “sender” and ascertain
            his or her specific intent regarding unlawful use by the “recipient.” Nei-
            ther the original Comstock Act, nor § 1461 today, however, mentions any
           “sender” or “recipient,” and the OLC opinion makes no attempt to define
            these important new terms. The opinion nonetheless concedes that “those
            sending or delivering mifepristone and misoprostol typically will lack com-
            plete knowledge of how the recipients intend to use them and whether that
            use is unlawful under relevant law.”13
               The OLC has, therefore, effectively created a new statute, intentionally
            neutralizing the current one so that it poses no obstacle to the Biden Admin-
            istration’s agenda of maximizing abortion access. This exercise cannot be
            called “interpretation” of an existing statute enacted by Congress.14 This
            Legal Memorandum does what the OLC chose not to do, following the estab-
            lished process of statutory interpretation to properly answer the Postal
            Service’s question.

           The Comstock Act

               The OLC opinion’s version of § 1461 is incompatible with both the context
            in which the Comstock Act was first enacted and its subsequent legislative
            development.

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               Context for the Comstock Act. Writing in 1958, Professor Glanville
            Williams, a widely acclaimed criminal law scholar law and an advocate of
            legalized abortion, acknowledged that American physicians led a 19th-cen-
            tury campaign against abortion “primarily because they believed unborn
            children must not be sacrificed unless the life of the mother was truly at
            stake.”15 Indeed, a century earlier at its May 1859 convention, the American
            Medical Association unanimously adopted a resolution condemning the
           “slaughter of countless children” and calling for laws prohibiting abortion,
           “at every period of gestation,” except when necessary to save the mother’s life.16
               State legislatures and courts followed the physicians’ lead, abandoning
            outdated concepts such as quickening, which recognized the unborn child
            as a living being only after its movement in the womb could be discerned.17
            As a result, during the 19th century, “the vast majority of the States enacted
            criminal statutes criminalizing abortion at all stages of pregnancy.”18 Con-
            gress enacted the Comstock Act (the Act) in this cultural and legal context.
               In Bours v. United States, which reversed a Comstock Act conviction
            because of the indictment’s wording, the U.S. Court of Appeals for the
            Seventh Circuit observed that including abortion in the original statute
           “indicates a national policy of discountenancing abortion as inimical
            to the national life.”19 In other words, the Comstock Act was Congress’
            contribution to the national movement toward prohibiting what the
            American Medical Association had called the “unwarrantable destruction
            of human life.”20
               This context, which the OLC completely ignored, is important because
            requiring proof, beyond a reasonable doubt no less, that the sender intends
            the recipient to use abortion drugs unlawfully virtually neutralizes the
            Comstock Act’s application to abortion drugs. In other words, the OLC
            posits that Congress, at the urging of a well-known anti-vice crusader and
            in the middle of a national movement to prohibit abortion, enacted a stat-
            ute that could not be enforced regarding abortion. That position is simply
            implausible on its face.
               Legislative Development of the Comstock Act. Congress first pro-
            hibited the importation of obscene material in 1842 and, in the 1865 Post
            Office Act, prohibited using the “mails of the United States” to deliver an
           “obscene book, pamphlet, picture, print, or other publication of a vulgar and
            indecent character.”21 The Comstock Act soon followed. As first enacted, it
            prohibited only “materials relating to abortion and contraception from the
            mails; ordinary obscene publications slipped through the legislative net.”22
            Congress quickly stepped in, expanding the statute’s reach in 1876 to also
            include any written material “of an indecent character.”23

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               As amended, § 1 of the Comstock Act directly prohibited such written
            materials and “any article whatever…for causing unlawful abortion” in
            any “place within the exclusive jurisdiction of the United States.” Section
            2 prohibited using the mail to deliver such materials elsewhere, and § 3
            prohibited “all persons” from importing them into the United States.24 After
            the Act’s passage, Comstock was appointed a special agent of the U.S. Post
            Office with the express power to enforce the statute.25 Two dozen states
            enacted their own version of the Comstock Act, some with provisions even
            harsher than the federal statute.26
               In February 1878, groups led by the Liberal League presented a petition
            with some 70,000 signatures to Congress calling for the Act’s repeal.27 Later
            that year, however, the Supreme Court held that Congress’ power to “estab-
            lish post-offices and post-roads”28 includes “the right to determine what
            shall be excluded”29 from the mail. After a House committee hearing and
            recommendation, Congress left the Comstock Act unchanged.30
               Each of Congress’ subsequent amendments to the Comstock Act
            expanded its coverage and severity. In 1948, for example, Congress recod-
            ified the Act as 18 U.S.C. § 146131 and expanded it by adding “filthy” to
           “obscene, lewd, or lascivious” and three additional categories of written
            materials to which those descriptors applied. It also added “adapted” to
           “designed or intended” to describe the “article[s] or thing[s]” for producing
            abortion that could not be sent through the mail. Congress went further in
            1955, adding the descriptor “vile” to the written materials that could not
            be sent through the mail32 and, in 1958, doubled the fine for more than one
            violation of § 1461.33
               The Comstock Act’s context and overall legislative development point
            toward harsher penalties and broader application of its prohibitions on
            both written material and anything that can be used to produce abortion. In
            addition to the context in which the Act was passed, this legislative develop-
            ment makes the OLC’s unusually narrow interpretation even more suspect.
            Turning to a more specific interpretive analysis of § 1461 further reveals the
            serious flaws in the OLC opinion.

            Interpreting Section 1461

             The OLC opinion appears so driven by the goal of eliminating § 1461 as
           an obstacle to the Biden Administration’s abortion agenda that it simply
           bypassed the established process of statutory interpretation altogether.
           Instead, it immediately looked outside the statute for any basis for its
           pre-determined conclusion.

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               What the OLC Did Not Do. The OLC opinion did not even acknowledge,
            let alone follow, the well-established process of statutory interpretation,
            which is founded on the Constitution’s grant of “All legislative Powers”34 to
            Congress. Interpreting any written document involves “discovering…the
            meaning which the authors…designed it to convey to others.”35 Applied to
            one of Congress’s statutes, interpretation requires “adhering to Congress’s
            intended meaning.”36 The Supreme Court has identified principles, or
            canons, that help keep interpretation focused on that necessary objective.
               Three of those interpretive canons are especially relevant here:

            1. “In determining the meaning of a statutory provision, ‘we look first to
              its language, giving the words used their ordinary meaning.’”37

            2. “Absent any textual qualification, we presume the operative language
              means what it appears to mean.”38

           3. “[W]here…the words of the statute are unambiguous,” the “judicial
              inquiry is complete.”39 In that case, a court “may not resort to extrinsic
              evidence to interpret them.”40

              If an argument existed that Congress intended the Comstock Act,
           either as originally enacted or as § 1461 today, to require proof of intended
           unlawful use, the OLC would surely have made it. If § 1461’s text was
           even arguably ambiguous, justifying resort to extrinsic evidence of its
           meaning, the OLC would have made the case. The OLC opinion, how-
           ever, did neither of these, failing to even mention either the obligation to
           determine what Congress intended § 1461 to mean or any of the principles
           necessary for meeting that obligation. In fact, the key terms at the heart
           of these interpretive principles—such as “plain,” “ordinary,” “ambiguous,”
           or “ambiguity”—do not appear a single time in the entire OLC opinion.
           Instead, the OLC opinion simply bypassed the statutory interpretation
           process altogether.
              What the OLC Should Have Done. In Marbury v. Madison, the
           Supreme Court held in 1803 that “[i]t is emphatically the province and duty
           of the judicial department to say what the law is.”41 A statute, the Court has
           repeatedly affirmed, “is” the meaning of its text at the time the legislature
           enacted it. Put simply, construing a statute requires determining what the
           legislature meant by what it enacted. The OLC opinion, therefore, should
           have begun by acknowledging its obligation to “adher[e] to Congress’s
           intended meaning” for § 1461.

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               Keeping this necessary goal in mind, the OLC opinion should have then
            applied the interpretive canons noted above to determine whether, given its
            plain and ordinary meaning, the text of § 1461 remains sufficiently ambig-
            uous to warrant reliance on extrinsic evidence for its meaning. “Absent
            any textual qualification,” the Supreme Court has held, “we presume the
            operative language means what it appears to mean.”42 In fact, the Court has
            explained, “[i]n interpreting a statute a court should always turn first to one,
            cardinal canon before all others. We have stated time and again that courts
            must presume that a legislature says in a statute what it means and means in
            a statute what it says there…. When the words of a statute are unambiguous,
            then, this first canon is also the last: ‘judicial inquiry is complete.’”43
               Consistent with its original title, the text of § 1461 is focused squarely
            on “article[s] or thing[s]” that can be used for “immoral purposes” such as
            abortion. It says nothing about either senders and their subjective intent
            or recipients and their speculated use. It simply prohibits from the mail
            any “article or thing designed, adapted, or intended for producing abortion.”
                Similarly, neither the original Comstock Act nor § 1461 has ever been
            limited to articles or things that are designed, adapted, or intended only
            for abortion. Beginning with its title, the OLC opinion actually confirms
            this, addressing “prescription drugs that can be used for abortion.”44 The
            fact that mifepristone and misoprostol may have other uses, therefore, is
            irrelevant and does not make the text of § 1461 ambiguous.
               Merriam-Webster defines design and intend to mean “have as a purpose”
            and adapted as “suited by…design to a particular use.”45 The plain and ordi-
            nary meaning of § 1461 is that if abortion is a purpose for which an article or
            thing is suited, it may not be conveyed or delivered through the mail. Since
            this unambiguous meaning of these terms is plain on its face, “a court may
            not resort to extrinsic evidence to interpret them.”46
               The Postal Service itself takes the same approach, prohibiting items
            because of how they can be used rather than speculating about senders
            and recipients. The U.S. Postal Inspection Service’s website, for example,
            lists various “items and substances [that] should never enter the mail sys-
            tem.”47 These include anything that contains mercury, household products
            that contain aerosol, and even lithium batteries. How these items might
            be used by others, or whether that use is legal or illegal, has nothing to
            do with labeling them as “non-mailable,” the same term that appears in
            § 1461. In fact, the term “unlawful” does not appear on this website at all.
            Designating an item as non-mailable is based solely on a judgment that
            the item, in and of itself, is potentially harmful. The same is true about any
           “article or thing designed, adapted, or intended for producing abortion.”48

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            The obvious answer to the Postal Service’s question, therefore, is that yes,
            § 1461 prohibits mailing abortion drugs.
                The OLC’s Opinion. The OLC opinion did not do any of that. It never
            acknowledged its duty to adhere to Congress’ intended meaning or men-
            tioned any of the necessary statutory interpretation principles. This
            includes even the canon that the Supreme Court has held takes precedence
           “before all others,” the presumption that Congress “means in a statute what
            it enacts there.” Rather than attempt to draw Congress’s intended meaning
            from § 1461, or to satisfy the prerequisite of finding ambiguity for relying
            on extrinsic evidence, the OLC started by searching outside the statute for
            a preferred meaning to impose upon it.
                The OLC found what it was looking for in a “judicial construction of the
            Comstock Act,”49 a few U.S. Court of Appeals decisions that appeared to
            interpret the Comstock Act narrowly. Since the judiciary has no power to
            legislate, however, the OLC still needed to somehow connect this inter-
            pretation to Congress. The OLC’s theory is that, because Congress did
            not “disapprov[e] of the [ judicial] interpretation”50 after it was “brought
            to Congress’s attention,”51 Congress necessarily “ratified”52 or “accept[ed]
            that narrowing construction.”53 In other words, while Congress had to act
            for § 1461 to exist at all, the statute could be effectively, and significantly,
            amended by the judiciary while Congress did nothing.
                One Note and One Statement. The interpretation that OLC prefers, it
            says, was “brought to Congress’s attention” in two ways. First, a “His-
            torical and Revision Note” found in a 1945 House committee report
           “‘invited’ the ‘attention of Congress’” to appeals court decisions nar-
            rowly interpreting § 1461.54 Such notes, the OLC explains, “were written
            by a staff of experts hired by Congress to revise the U.S. Code in the
            1940s, including the editorial staffs of the West and Thompson pub-
            lishing companies.”55 Second, a statement by the Postmaster General
            found in a 1970 committee report explained that the Postal Service had
            administratively “accepted the courts’ narrowing construction of the
            [Comstock] Act.”56
                The OLC contends, in other words, that one note and one statement by
            non-legislative parties, appearing in committee reports 25 years apart, were
            so powerful that only Congress’s explicit “disapprov[al] of that interpreta-
            tion”57 could prevent the resulting transformation of § 1461. This theory
            is inconsistent not only with the Constitution’s grant of legislative power
            to Congress, but with the very authority the OLC cites for this approach:
           Texas Dept. of Housing and Community Affairs v. The Inclusive Housing
            Project, Inc.58

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              Texas Dept. of Housing. In that case, a nonprofit organization that assists
           low-income families in finding affordable housing sued the Texas hous-
           ing agency under the federal Fair Housing Act (FHA). The group claimed
           that the agency’s pattern of allocating housing tax credits had a disparate
           racial impact. The Supreme Court had to decide whether § 804 of the FHA,
           which prohibited housing discrimination based on “race, color, religion,
           or national origin,”59 should be interpreted as allowing not only suits for
           disparate treatment, but also for disparate impact.
              The Court held that Congress “ratified the unanimous holdings of the
           Courts of Appeals finding disparate-impact liability”60 when it amended the
           FHA in 1988 but retained § 804’s existing language. That much of Texas Dept.
           of Housing appears supportive of how the OLC today wants to treat § 1461.
           There is a reason, however, why the OLC only cited—but did not discuss—this
           precedent. If Texas Dept. of Housing is instructive, as the OLC apparently
           thinks it is, then it establishes a standard for congressional ratification of a
           judicial construction that the OLC cannot possibly meet with respect to § 1461.

            1. The Supreme Court had previously interpreted language to allow
              disparate-impact suits in two civil rights statutes that are “equivalent
              in function and purpose” to § 804.61

            2. By 1988, “all nine Courts of Appeals to have addressed the question
              had concluded the Fair Housing Act encompassed disparate-impact
              claims,”62 six of them in the previous six years.

           3. Congress affirmatively demonstrated its “aware[ness] of this unani-
              mous precedent”63 by the same actions, such as committee hearings
              and floor speeches, that it takes when enacting or amending legislation.

           4. Congress rejected a proposed amendment that would have eliminated
              disparate-impact liability.64

              These factors support the Supreme Court describing Congress as making
           a “considered judgment”65 to retain the previous language of § 804 while
           accepting that it would be interpreted, going forward, as allowing dispa-
           rate-impact suits. None of these factors, however, exist regarding § 1461.
           The Supreme Court has never interpreted § 146166 or any comparable or
           equivalent statute to require proof of intended unlawful use. Far from the
           unanimous, and recent, interpretation of § 804 of the FHA, the OLC opinion
           cites appeals court decisions in four circuits during nearly 30 years.

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               More importantly, while Congress’ actions regarding § 804 demonstrated
            its actual awareness and considered acceptance of the statute’s judicial
            construction, § 1461’s legislative development described above points in
            the opposite direction.
               First, § 1 of the original Comstock Act prohibited “any drug or medi-
            cine, or any article whatever…for causing unlawful abortion.” In contrast,
            § 2, which would later become § 1461, prohibited “any article or thing
            designed or intended for the…procuring of abortion,” without the “unlaw-
            ful” qualifier that the OLC today wants to impose. This distinction makes
            a very real difference. The Supreme Court has held that “where Congress
            includes particular language in one section of a statute but omits it in
            another section of the same Act, it is generally presumed that Congress
            acts intentionally and purposely in the disparate inclusion or exclusion.”67
            In other words, including “unlawful” in § 1 turns its absence from § 2 into
            an exclusion.
               Second, this same principle applies between separate, but closely related,
            statutes.68 The Tariff Act, for example, prohibits “importing into the United
            States from any foreign country…any drug or medicine or any article what-
            ever for causing unlawful abortion.”69 The OLC opinion itself,70 and appeals
            court decisions on which it relies,71 note the difference in language between
            the Tariff and Comstock Acts but ignores the obvious implication that Con-
            gress, therefore, intended to exclude the “unlawful” qualifier from the latter.
               Third, recodifying the federal criminal code in 194872 would have been
            the opportunity to add the “unlawful” qualifier to § 2 of the Comstock Act,
            which became § 1461. Instead, Congress repealed § 1, which contained the
           “unlawful” qualifier, and kept § 2, which did not.
               Fourth, following the Supreme Court’s decision in Griswold v. Connecti-
            cut,73 which invented a constitutional right to use contraception, Congress
            in 1971 amended statutes such as § 1461 and the Tariff Act to remove their
            application to contraception.74 Congress, however, did not do the same after
            the Supreme Court’s decision in Roe v. Wade, retaining unchanged § 1461’s
            application to “[e]very article or thing designed, adapted, or intended for
            producing abortion.”
               Fifth, on multiple occasions, Congress has considered, but has never
            adopted, amendments to § 1461 that would bring its text in line with the
            OLC’s interpretation. Even suggesting such a change, of course, makes no
            sense if, as the OLC today claims, Congress had already ratified and accepted
            such a narrow interpretation. Congress’ own actions show that it had not.
            For example:


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            l   In 1978, when again recodifying the federal criminal code, Congress
                considered but did not adopt an amendment to § 1461 that would limit
                its application to “[e]very…drug, medicine, article, or thing intended
                by the [sender]…to be used to produce illegal abortion.”75 The House
                committee report confirmed that this would require “proof that the
                offender specifically intended that the mailed materials be used to
                produce an illegal abortion” under state law.76

            l   In 1996 and 1997, respectively, Representatives Patricia Schroeder (D–
                CO) and Barney Frank (D–MA) introduced legislation to drastically
                narrow the definition of “nonmailable matter” in § 1461, including
                eliminating any reference to abortion.77 Neither bill, however, even
                had a Senate counterpart, and Congress took no action on either
                one.78 As explained above, Congress including “unlawful” in § 1 of the
                Comstock Act and in similar statutes such as the Tariff Act created a
                presumption that Congress intended to exclude that element from § 2.
                Congress repeatedly passing up opportunities to insert a requirement
                of proving intended unlawful use means that nothing has rebutted
                that presumption.

                Congress took none of the actions that, under Texas Dept. of Housing,
            would have evidenced its acceptance of the narrow judicial interpretation of
            § 1461 that the OLC favors. Quite the contrary. In at least these five different
            ways, Congress demonstrated the opposite, that it meant what it enacted in
            § 1461. Congress’ “intended meaning” is what the statute’s plain language
            has said from the beginning—that anything designed, adapted, or intended
            for producing abortion may not be sent through the mail.
                Finally, the OLC opinion is problematic even on its own terms. Whether
            mailing abortion drugs is permissible under the OLC’s preferred interpre-
            tation of § 1461 depends on whether their intended use is unlawful, which
            is determined by state law. The first appeals court decision cited in the OLC
            opinion, however, contradicts this position. In Bours v. United States,79 the
            court held that in applying the Comstock Act “to an alleged offensive use of
            the mails…it is immaterial what the local statutory definition of abortion is,
            what acts of abortion are included, or what excluded. So the word ‘abortion’
            in the national statute must be taken in its general medical sense.”80 The
            prohibition on using the mail to deliver abortion drugs, therefore, is not
            conditioned on the intent of the sender, the anticipated use by the recipient,
            or the legality of abortion in a particular state.


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            Conclusion

               The U.S. Postal Service asked the Justice Department’s Office of Legal
           Counsel whether 18 U.S.C. § 1461 prohibits mailing abortion drugs. Properly
           answering this question requires following the established process of stat-
           utory interpretation, including principles that help maintain the priority
           of “adhering to Congress’s intended meaning.”81 Because this process inex-
           orably provides an affirmative answer to the Postal Service’s question, the
           OLC avoided it altogether. Instead, the OLC immediately looked outside the
           statute—and outside Congress altogether—to support the answer it wanted.
               The Comstock Act’s purpose was “to prevent the mails from being used
           to corrupt the public morals.”82 The context in which it was enacted and
           its legislative development both show that abortion was assuredly in this
           category. The evidence that the OLC completely ignored shows that Con-
           gress not only never limited § 1461’s application to abortion, but actually
           intended that this application remain unchanged.
               The plain, ordinary, and unambiguous meaning of § 1461 prohibits using
           the mail to send or deliver anything that is designed, adapted, or intended
           to produce abortion. The U.S. Food and Drug Administration has confirmed
           that mifepristone and misoprostol are in this category, approving their use
           for “termination of pregnancy through 10 weeks gestation.”83 The OLC
           opinion itself, in its opening paragraph, does the same by describing mife-
           pristone and misoprostol as “drugs that are commonly used to produce
           abortions.”84 Planned Parenthood simply calls mifepristone the “abortion
           pill.”85 These drugs unquestionably fall within § 1461’s prohibition.
               Unfortunately, the Biden Administration’s political priority of expanding
           abortion access compromised the OLC’s duty to provide objective and unbiased
           legal analysis. As a result, the OLC wants Americans to believe that a law enacted
           as part of the national pro-life legislative movement and championed by an
           aggressive and uncompromising anti-vice crusader is today, with no change in
           its language, entirely unenforceable for its intended purpose. The OLC wants
           Americans to ignore what they can read for themselves, that the statute has
           clear and unqualified language, and that Congress repeatedly demonstrated
           its intention to keep it that way. The OLC wants Americans to believe that
           while enacting the Comstock Act required Congress to act, rendering it inert
           and unenforceable could be accomplished by Congress failing to act at all.
               The Justice Department is wrong. Federal law prohibits mailing
           abortion drugs.

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Endnotes
1.    Dobbs v. Jackson Women’s Health Organization, 142 S.Ct. 2228, 2253 (2022).
2.    See id. at 2249–54.
3.    Id. at 2261.
4.    17 Stat. 598 (1873).
5.     See Margaret A. Blanchard, The American Urge to Censor: Freedom of Expression Versus the Desire to Sanitize Society—From Anthony Comstock to 2
       Live Crew, 33 William & Mary L. Rev. 741, 744–60 (1992). Comstock claimed that he successfully prosecuted more than 3,600 defendants and destroyed
       more than 160 tons of obscene literature in his role as a special agent with the U.S. Postal Service. See Comstock Law of (1873), JRank, https://law​
      .jrank.org/pages/5508/Comstock-Law-1873.html#ixzz7qmkxsQb4.
6.    18 U.S.C. § 1461.
7.    410 U.S. 113 (1973).
8.    505 U.S. 833 (1992).
9.    Dobbs, 142 S.Ct. at 2279.
10.    The Office of Legal Counsel provides “written opinions and other advice in response to requests from the Counsel to the President, the various
       agencies of the Executive Branch, and other components of the Department of Justice.” Office of Legal Counsel, U.S. Dep’t of Just., https://www​
      .justice.gov/olc.
11.    Application of the Comstock Act to the Mailing of Prescription Drugs That Can Be Used for Abortion, O.L.C. Slip Op., at 1 (Dec. 23, 2022), https://www​
      .justice.gov/olc/opinion/file/1560596/download.
12.   Id. (emphasis added).
13.   Id. at 17.
14.   Instead, it does what Justice George Sutherland once warned against, amending § 1461 “under the guise of interpretation.” West Coast Hotel Co. v.
      Parrish, 300 U.S. 379, 404 (1937) (Sutherland, J., dissenting).
15.   Glanville Williams, The Sanctity of Life and the Criminal Law 141 (1958).
16.   Frederick N. Dyer, The Physicians’ Crusade Against Abortion 76 (1999).
17.   See, e.g., Lamb v. State, 10 A. 208 (Md. 1887).
18.   Dobbs, 142 S.Ct. at 2252.
19.   Bours v. United States, 229 F. 960, 964 (7th Cir., 1915).
20. See Dyer, supra note 16.
21.   13 Stat. 504, 507 (1865). See Blanchard, supra note 5, at 745–46.
22. Blanchard, supra note 5, at 749.
23.   Id.
24. Id. at 746.
25. Id. at 748.
26. Comstock Law of (1873), supra note 5. See also Blanchard, supra note 5, at 751.
27.   Blanchard, supra note 5, at 752.
28. U.S. Const., art. I, § 8, cl. 7.
29. Ex parte Jackson, 96 U.S. 727, 732 (1878).
30. Blanchard, supra note 5, at 754.
31.   62 Stat. 768 (1948), ch. 645.
32.   Pub. L. 95–190, 69 Stat. 183 (1955).
33.   Pub. L. 85–796, 62 Stat. 768 (1958).
34. U.S. Const., art I, § 1.
35.   Black’s Law Dictionary 824 (7th ed. 1999).
36. Valerie C. Brannon, Cong. Rsch. Srvc., R45153, Statutory Interpretation, Theories, Tools, and Trends 2 (2022) (emphasis added).



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37.   Lawson v. FMR LLC, 571 U.S. 429, 440 (2014), quoting Moskal v. United States, 498 U.S. 103, 108 (1990).
38. Id. at 441.
39. Desert Place, Inc. v. Costa, 539 U.S. 90, 99 (2003) (internal citations omitted). See also Babb v. Wilkie, 140 S.Ct. 1168, 1177 (2020); Lawson v. FMR LLC,
    571 U.S. 429, 440 (2014), quoting Moskal.
40. Coast Fed. Bank, FSB v. United States, 323 F.3d 1035, 1040 (Fed. Cir. 2003) (en banc). See also Steimel v. Wernert, 823 F.3d 902, 912 (7th Cir. 2016).
41.   Marbury v. Madison, 5 U.S. 137, 177 (1803) (emphasis added).
42. Id. at 441.
43.   Connecticut Nat’l Bank v. Germain, 503 U.S. 249, 253–54 (1992) (emphasis added), quoting Rubin, 449 U.S. 424 (1981), at 430.
44. O.L.C. opinion, supra note 11, at 17–18.
45. Design and Intend, MerriamWebster (Online 2023), https://www.merriam-webster.com/dictionary.
46. Coast Fed. Bank, 323 F.3d at 1040.
47.   U.S. Postal Inspection Serv., Prohibited, Restricted, and Non-Mailable Items (2022), https://bit.ly/3HCU4sY.
48. 18 U.S.C. § 1461.
49. O.L.C. opinion, supra note 11, at 2.
50. Id. at 14.
51.   Id. at 14–15.
52. Id. at 12.
53. Id. at 15.
54. Id. at 12–13. This note also appears following the text of § 1461 in the U.S. Code. See 18 U.S. Code § 1461: Mailing Obscene or Crime-Inciting Matter,
    Cornell L. Sch., https://www.law.cornell.edu/uscode/text/18/1461.
55. Id. at 12 n.14.
56. Id. at 11.
57.   Id. at 14.
58. 576 U.S. 519 (2015).
59. See 42 U.S.C. § 3604.
60. Id. at 536.
61.   Id. at 520.
62. Id. at 535.
63. Id. at 536.
64. Id.
65. Id.
66. With the exception of Bours, in fact, none of the appeals court decisions cited in the OLC opinion interpreted or applied the Comstock Act with regard
    to abortion.
67.   Russello v. United States, 464 U.S. 16, 23 (1983), quoting United States v. Wong Kim Bo, 472 F.2d 720, 722 (5th Cir. 1972). See also Riegel v. Medtronic,
      Inc., 522 U.S. 312, 327 (2008) (When assessing two different clauses in the same statute to discern whether the Food, Drug, and Cosmetic Act’s
      wording was intended to pre-empt state law for both drugs and medical devices, the court wrote: “It did not…but instead wrote a pre-emption clause
      that applies only to medical devices.”)
68. See Sullivan v. Stroop, 496 U.S. 478 (1990).
69. 19 U.S.C. § 1905(a) (emphasis added).
70. O.L.C. opinion, supra note 11, at 8 n.9.
71.   See, e.g., U.S. v. One Package, 86 F.2d 737, 738 (2d Cir. 1936). The court’s decision was based on a series of speculative phrases such as “seems hard to
      suppose,” id. at 739, and “seems unreasonable.” Id. at 740.
72.   62 Stat. 768.
73.   381 U.S. 479 (1965).
74.   See Pub. L. 91–662, 62 Stat. 768 (1971).
75.   Report of the Subcommittee on Criminal Justice on Recodification of Federal Criminal Law, 95th Cong., 39–42 (Comm. Print 1978) (emphasis added).


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76.   Id. at 39–42 (emphasis added).
77.   H.R. 3057, 104th Cong. (1996).
78.    In her remarks on the House floor, Schroeder focused on the Act’s effect on abortion and criminalizing distribution of abortion information. She never
       said anything about “unlawful” or “illegal” abortion, but identified a violation of the statute as the strict liability offense it was. Schroeder said: “The
       problem is, this body just allowed the Comstock Act to be enforced on the Internet vis-à-vis anything doing with abortion. Previously, the Congress did
       away the Comstock Act dealing with family planning, thank goodness. But the Comstock Act has never been repealed; it is still on the books. And so,
       as a consequence, this has been thrown up on the Internet and could be used to bring people into a criminal conviction or arraignment if they decided
       to discuss anything about the big A word on the Internet…. The Telecommunications Act passed this year extended the Comstock Act’s prohibitions to
       anyone who uses an interactive computer service. This Congress, therefore, revived Comstockery by making it a crime to use the Internet to provide
       or receive information which directly or indirectly tells where, how, of whom, or by what means an abortion may be obtained.” Archives of Women’s
       Political Communication, Iowa State University, posted March 21, 2017, https://awpc.cattcenter.iastate.edu/2017/03/21/comstock-act-still-on-the-books​
      -sept-24-1996/.
79.   Bours v. United States, 229 F. 960 (7th Cir., 1915).
80. Id. at 964.
81.   See supra note 36.
82. See Comstock Law of (1873), supra note 5.
83. Information about Mifepristone for Medical Termination of Pregnancy Though Ten Weeks Gestation, U.S. Food and Drug. Admin. (2023), https://www.fda.gov​
     /drugs/postmarket-drug-safety-information-patients-and-providers/information-about-mifepristone-medical-termination-pregnancy-through-ten​
    -weeks-gestation. See also Mifepristone (Oral Route), Mayo Clinic, https://www.mayoclinic.org/drugs-supplements/mifepristone-oral-route/proper-use/
     drg-20067123#:~:text=For%20oral%20dosage%20form%20(tablets,dose%20placed%20in%20the%20cheeks; Uses, WebMD, https://www.webmd.com/
     drugs/2/drug-20222-325/mifepristone-oral/mifepristone-oral/details (“Mifepristone (also known as RU 486) is used to cause an abortion during the
     early part of a pregnancy.”).
84. O.L.C. opinion, supra note 11, at 1.
85. How Do I Use the Abortion Pill?, Planned Parenthood, https://www.plannedparenthood.org/learn/abortion/the-abortion-pill/how-do-i-use-abortion-pill.




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 jIÿ_RPÿPkRTTKLÿIJROÿIJKUl^ÿJHmK^ÿRO^ÿJR^ÿTSkSIK^ÿnKOISTRISHOeÿa`IÿIJKÿI_HÿHIJKLÿTHcRISHOPÿIJKUl^ÿILSK^ÿIHÿLKOIÿaKTHOoK^
 IHÿ̀OSnKLPSISKPÿRO^ÿLKp`SLK^ÿq̀kmSOoÿIJLH`oJÿIHHÿkROUÿa`LKR`cLRIScÿJHHmPrIJKÿKsRcIÿPHLIÿHtÿmRmKLÿILRSTÿIJSPÿoLH`m
 _RPÿILUSOoÿIHÿRnHS^i
 uK^ÿaUÿLKOH_OK^ÿmLHvcJHScKÿRcISnSPIÿuR_LKOcKÿuR^KLeÿIJKSLÿoHRTÿ_RPÿIHÿLKmTScRIKÿwxvyz{eÿIJKÿLKnHT̀ISHORLUÿRaHLISHO
 mSTTÿ^KnKTHmK^ÿSOÿIJKÿ|}z~PÿaUÿLKOcJÿkRO`tRcI`LKLÿwH`PPKTvÿ    xcTRtr_JScJÿ_RPÿ̀O_STTSOoÿIHÿORnSoRIKÿkKLScRO
 RaHLISHOÿmHTSIScPÿIHÿaLSOoÿIJKÿmSTTÿPIRIKPS^KiÿuR^KLlPÿoLH`meÿcH^KvORkK^ÿwGÿwKPKRLcJÿdH`OcSTeÿPKIÿ̀mÿPJHmÿq̀PI
 kHOIJPÿRtIKLÿQLiÿQRnS^ÿ`OOÿ_RPÿPJHIÿRO^ÿhSTTK^ÿH`IPS^KÿJSPÿTHLS^RÿcTSOSceÿIJKÿLPIÿxÿmJUPScSROÿIHÿaKÿk`L^KLK^ÿaUÿRO
 ROISvRaHLISHOÿRcISnSPIiÿKLJRmPÿ̀OP`LmLSPSOoTUeÿOHÿxÿkRO`tRcI`LKLÿ_ROIK^ÿIHÿ_R^KÿSOIHÿIJKÿSOcLKRPSOoTUÿtLR`oJI
 RaHLISHOÿ^KaRIKÿIHÿaLSOoÿIJKÿkK^ScRISHOÿIHÿkKLScROÿ_HkKOeÿKSIJKLiÿHÿ_SIJÿIJKÿJKTmÿHtÿTR_UKLPÿRO^ÿRcISnSPIPeÿuR^KL
 JR^ÿPk`ooTK^ÿwxvyz{ÿSOIHÿIJKÿxOSIK^ÿIRIKPeÿRO^ÿJSPÿoLH`mÿ_RPÿoHSOoÿIHÿILUÿIHÿLKmLH^`cKÿSIi
 jOÿIJKSLÿ_RLKJH`PKeÿIJKUÿoHIÿIHÿ_HLhÿa`ST^SOoÿROÿ̀O^KLoLH`O^ÿ^L`oÿTRaHLRIHLUeÿcHkmTKIKÿ_SIJÿRÿJ`oKeÿc`PIHkSK^
 nKOISTRISHOÿJHH^eÿLKÿmLKnKOISHOÿ^KnScKPeÿRO^ÿPmKcSRTTUÿ^KPSoOK^ÿPSOhPiÿJKÿ_JHTKÿmLHqKcIÿJR^ÿIJKÿILRmmSOoPÿHtÿRÿdj
 HmKLRISHOeÿuR^KLÿ_H`T^ÿTRIKLÿ_LSIKiÿJKUÿo`LK^ÿH`IÿRÿPUPIKkÿtHLÿLKmTKOSPJSOoÿIJKSLÿOKRLvcHOPIROIÿOKK^ÿtHLÿ^LUÿScK
 tLHkÿRÿP`mmTSKLÿ|ÿkSTKPÿR_RUeÿRO^ÿcLRtIK^ÿRÿPILRIKoUÿIHÿRnHS^ÿ^KIKcISHOÿaUÿROISvRaHLISHOÿoLH`mPeÿIJKÿoRLaRoKÿcHTTKcIHLe
 RO^ÿIJKSLÿTRO^THL^iÿjtÿROUHOKÿRPhK^ÿ_JRIÿIJKUÿ_KLKÿ̀mÿIHeÿIJKÿoLH`mr_JScJÿSOcT̀^K^ÿRÿ^HcIHLÿ_JHÿTSnK^ÿ|e~~~ÿkSTKP
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 15#0ÿ3422.ÿ3158ÿ#935&ÿ89ÿ618ÿ801ÿ89ÿ122ÿ801ÿ 6ÿ45ÿ14#ÿÿ41ÿ%ÿ48ÿ48ÿ%ÿ59801ÿ93398548&ÿ89
 1ÿ91ÿ12ÿ951&5ÿ9ÿ91ÿ699ÿ2956ÿ801ÿ%&
 41ÿ%ÿ801ÿ29 5#42.ÿ69789ÿ1# 1ÿ801&.ÿ%91ÿ8961801ÿ95ÿ801ÿ#9331ÿÿ801ÿ29 5#42ÿ0ÿ1+12931ÿ48ÿ5
 8015ÿ6581ÿ9&590ÿ801ÿ24#151ÿ5ÿ48ÿ#9221#81ÿ9&2841ÿÿ41ÿ ##1 22&ÿ 428ÿ3ÿ801ÿÿ 451 ÿ5ÿ92
 48ÿ41ÿ0ÿ39+1ÿ04 12ÿ89ÿ1ÿÿ 451 5ÿ%09ÿ#9 2ÿ 1801ÿ241ÿ5ÿ922 ÿ4589ÿÿ#9589+1 42ÿ%915.
 01280ÿ39 #8ÿ801ÿ29 5#42ÿ6+1ÿ04ÿ801ÿ1/#2 4+1ÿ4608ÿ89ÿ122ÿ41348951ÿ45ÿ801ÿÿ5ÿ81ÿ04ÿ%480
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I?C<B@J<@Aÿ@?BÿJMH@DAB<MJÿ>?JLM@H<DÿN?FOGÿI?ÿM@EN;<B<ÿ@<MBÿHAP
 8&34#22&ÿ 6ÿ45ÿ801ÿ5481ÿ881ÿ1ÿ598ÿ51ÿ&ÿ34+81ÿ454+4 2ÿ581ÿ801ÿ112ÿ69+15158ÿQ55#1
 454842ÿ11#0ÿ%0421ÿ281ÿ861ÿ9ÿ1+1293158ÿ1ÿ34ÿ9ÿ&ÿ30#184#2ÿ#93541ÿR158 1ÿ#348248ÿ5
 34+81ÿ1S 48&ÿ45+189 ÿ 22&ÿ952&ÿ618ÿ45+92+1ÿ45ÿ 6ÿ1+12931ÿ89ÿ818ÿ1ÿ4118091ÿ808ÿ1#8ÿ1%1
 805ÿT"""""ÿ319321ÿ31ÿ&1 1# 1ÿ30ÿ#93541ÿ1ÿ52412&ÿ89ÿ45+18ÿ45ÿ8011ÿ8&34#22&ÿ21 739Q821
 818158ÿ1 8ÿ41348951ÿ%ÿÿ9ÿÿ$1ÿ411'ÿ 645ÿ801ÿ*UU"ÿ9 8ÿ*ÿ422495ÿ14#5ÿ%915ÿ%11
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 4581ÿ#93541ÿ%9 2ÿ69ÿ5&%011ÿ51ÿ48
  5ÿ*UU)ÿ41ÿ698ÿ89ÿ%9ÿ8+12456ÿ801ÿ#9 58&ÿ%480ÿ 5ÿ2215ÿÿ9#89ÿ5ÿ98495ÿ39+41ÿ01.ÿ 9 608ÿ95ÿ89ÿ1
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 1 188ÿ9294ÿR51 428ÿÿ91961ÿ99ÿ13115884+1ÿ5ÿÿ052ÿ9ÿ9801ÿ#121 4841ÿ04ÿ54456
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 0349ÿ41ÿ%95.8ÿ&ÿ%04#0ÿ4ÿ5&ÿ9ÿ8011ÿ319321ÿ45+181ÿ45ÿ801ÿ39(1#8ÿ 8ÿ01ÿ18481ÿ808ÿ28961801ÿ8011
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0123ÿ536ÿ789 6ÿ3761ÿ7ÿ11ÿ71ÿ9ÿ16331763ÿ97135ÿ315633ÿ79 ÿ63ÿ9ÿ156ÿ3ÿ3
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9 ÿ767ÿ53ÿ63ÿ789619 ÿ ÿ953ÿ87235ÿ615ÿ673ÿ9ÿ3616135ÿ75ÿ536ÿÿ69ÿ985 3ÿ#3ÿ53 3ÿ75ÿ77ÿ+
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  919ÿ1ÿ1ÿ24ÿ5174ÿ8ÿ4159ÿ32498ÿ9ÿ!8ÿ9438ÿ24ÿ*4ÿ1ÿ15ÿ374ÿ ÿ1ÿ8148ÿ353715ÿ39
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  3249429ÿ329ÿ24ÿ4798ÿ534ÿ4159ÿ7184ÿ94725!ÿ12 ÿ1817493715ÿ*4ÿ355ÿ844294ÿ12ÿ3 ÿ%2127315
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95>Cÿ8/:8ÿ8/0AD9ÿ70=05ÿ/:=0ÿ85;><40ÿ604437CEÿ?;5ÿ:ÿ@;79383;7ÿ8/:8ÿF;>49
                         70=05ÿ@0:60ÿ8;ÿ0G368H
  I3932ÿ9ÿ418ÿ34ÿ12 ÿ012345ÿ 2 ÿ1ÿ12 5ÿÿ35532!ÿ32498ÿÿ9!4948ÿ 9ÿ84ÿ912ÿJ"Kÿ35532ÿ329
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  3249429ÿ012345ÿ15ÿ914ÿ3254 ÿ47832!ÿ84ÿ72985ÿ48ÿ94ÿ712ÿ12 ÿ 8948ÿ7421932ÿ919
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  725932!ÿ44ÿ12 ÿ1ÿ8932ÿÿ94ÿ 984ÿ8%9ÿ2ÿ94ÿ184ÿ4ÿ!342ÿÿ714ÿ19ÿJ#"ÿ35532Xÿ132ÿ15
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   545ÿ6ÿ6361ÿ46ÿ56ÿ23651ÿ4ÿ012650ÿ14561ÿ6ÿ4ÿ616ÿ42ÿ6ÿ4ÿ4ÿ16229ÿ126 ÿ#2ÿ126 ÿ4ÿ04 6
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                                                                                                                                                                                             SAGE Open Medicine
                                                                      Systematic Review

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                                                                      Pregnancy associated death in record                                                                                                          Volume 5: 1­–17
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                                                                      linkage studies relative to delivery,                                                                               sagepub.co.uk/journalsPermissions.nav
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                                                                      termination of pregnancy, and natural                                                                                     journals.sagepub.com/home/smo


                                                                      losses: A systematic review with a
                                                                      narrative synthesis and meta-analysis

                                                                      David C Reardon1 and John M Thorp2



                                                                      Abstract
                                                                      Objectives: Measures of pregnancy associated deaths provide important guidance for public health initiatives. Record linkage
                                                                      studies have significantly improved identification of deaths associated with childbirth but relatively few have also examined
                                                                      deaths associated with pregnancy loss even though higher rates of maternal death have been associated with the latter.
                                                                      Following PRISMA guidelines we undertook a systematic review of record linkage studies examining the relative mortality
                                                                      risks associated with pregnancy loss to develop a narrative synthesis, a meta-analysis, and to identify research opportunities.
                                                                      Methods: MEDLINE and SCOPUS were searched in July 2015 using combinations of: mortality, maternal death, record
                                                                      linkage, linked records, pregnancy associated mortality, and pregnancy associated death to identify papers using linkage of
                                                                      death certificates to independent records identifying pregnancy outcomes. Additional studies were identified by examining
                                                                      all citations for relevant studies.
                                                                      Results: Of 989 studies, 11 studies from three countries reported mortality rates associated with termination of pregnancy,
                                                                      miscarriage or failed pregnancy. Within a year of their pregnancy outcomes, women experiencing a pregnancy loss are over
                                                                      twice as likely to die compared to women giving birth. The heightened risk is apparent within 180 days and remains elevated
                                                                      for many years. There is a dose effect, with exposure to each pregnancy loss associated with increasing risk of death. Higher
                                                                      rates of death from suicide, accidents, homicide and some natural causes, such as circulatory diseases, may be from elevated
                                                                      stress and risk taking behaviors.
                                                                      Conclusions: Both miscarriage and termination of pregnancy are markers for reduced life expectancy. This association
                                                                      should inform research and new public health initiatives including screening and interventions for patients exhibiting known
                                                                      risk factors.

                                                                      Keywords
                                                                      Maternal mortality, pregnancy associated death, longevity, pregnancy loss, termination of pregnancy, abortion, miscarriage,
                                                                      risk factors, pregnancy screening, health policy

                                                                      Date received: 9 November 2016; accepted: 9 October 2017



                                                                      Introduction
                                                                      Maternal deaths associated with pregnancy are a major                         Without such record linkage only 26% of deaths during
                                                                      public health concern. Death rate calculations based on                    pregnancy or after live birth or stillbirth would have been
                                                                      death certificates alone, however, consistently miss cases
                                                                      due to the fact that registrars often lack information about               1Elliot
                                                                                                                                                       Institute, Springfield, IL, USA
                                                                      the deceased’s woman’s complete pregnancy history. This                    2Department  of Obstetrics and Gynecology, School of Medicine,
                                                                      problem can be alleviated in part by linking death certifi-                 University of North Carolina at Chapel Hill, Chapel Hill, NC, USA
                                                                      cates to birth certificates, fetal death records, termination              Corresponding author:
                                                                      of pregnancy (TOP) registries, and medical treatment                       David C Reardon, Elliot Institute, PO Box 7348, Springfield, IL 63376, USA.
                                                                      records.                                                                   Email: elliotinstitute@gmail.com


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identified from the death registry or death certificates alone,    findings of the relevant studies and (b) undertake a meta-
according to a Finnish study.1 Using death certificates alone,     analysis of any comparative mortality rates associated with
only 12% of deaths following miscarriage or ectopic preg-          different pregnancy outcomes which are appropriate to the
nancy and just 1% of deaths following termination of preg-         methods of meta-analyses.
nancy (TOP) could be identified without record linkage.1              The importance of this investigation is underscored by
The importance of systematically using record linkage to           numerous studies which have found that that parity and the
identify deaths associated with pregnancy losses (TOP, mis-        exposure to various pregnancy outcomes has significant
carriage, and ectopic pregnancies) is further demonstrated by      effects on life expectancy.23–25 Record linkage studies
the same study’s findings, which demonstrate that the mor-         examining pregnancy associated life expectancy are needed
tality rate in the year following a pregnancy loss was two to      to help to identify how the number of pregnancies, number
four times higher than that of delivering women.                   of deliveries, and types of pregnancy outcomes may affect
    Record linkage studies are therefore clearly necessary to      the health and longevity of women. These findings, in turn,
properly identify the effects of pregnancy on the health and       may then contribute to better screening to identify the sub-
longevity of women. This methodology is especially impor-          sets of women who may most benefit from interventions to
tant to understanding mortality rates associated with TOP          ameliorate any harmful effects and/or to enhance any ben-
and natural pregnancy losses precisely because such deaths         eficial effects associated with pregnancy and pregnancy
are (a) much more common than deaths during pregnancy or           management.
after delivery, and (b) less likely to be identified on death
certificates alone.1
                                                                   Definitions
    Compared to women who deliver, those who miscarry or
have TOP face significantly elevated rates of psychiatric dis-     Pregnancy loss, as used herein, includes all pregnancy out-
orders,2–10 substance use,5,6,10–13 suicidal behaviors,5,6,13–16   comes that do not end in a live birth.2
sleep disorders,17 post-traumatic stress disorders,7,18,19 a           Natural loss is a subset that includes all pregnancy losses
decline in general health,20 and elevated rates of recourse to     except TOP. While the vast majority of natural losses are
medical treatments in general,21,22 most of which have been        miscarriages, it should be noted that some researchers have
observed within the first through ten years following the          chosen to report only on miscarriages while others have
pregnancy loss. Any and all of the aforementioned condi-           included ectopic pregnancies, still births and other natural
tions may shorten longevity. It is therefore especially impor-     losses together. Still other investigators have grouped women
tant from a public health and economic viewpoint to improve        who had stillbirths with women who had live births since
investigations regarding the mortality rates associated with       these pregnancies continued to term or near term.1
pregnancy losses.                                                      Pregnancy associated death, has been defined by the
    While the importance of research on maternal mortality         American College of Obstetricians and Gynecologists
is widely recognized, it has appeared increasingly evident         (ACOG) and the United States’ Centers for Disease Control
to the authors that insufficient attention has been devoted        (CDC) to include all deaths during pregnancy or within one
to examining the subset of women’s deaths following                year of a pregnancy outcome regardless of presumed cause
pregnancy losses. Greater insight into this subset of deaths       of death.26 The identification of pregnancy associated
may help to guide and prioritize the development of proac-         deaths has been recognized is an important precursor to
tive health initiatives that can save women’s lives and            efforts to identify maternal deaths, which are defined to
improve health.                                                    include only those deaths for which there is a medical opin-
    Therefore, the authors identified the need for a systematic    ion that some aspect of the pregnancy or pregnancy man-
review which would provide (a) a description and synthesis         agement was a contributing cause of death.26
of all the available qualifying literature, including proposals        Pregnancy associated long-term mortality is defined to
for research priorities and actionable interventions based on      include all deaths following one or more pregnancy out-
the best available evidence, and (b) a quantitative meta-anal-     comes without an imposed time limit. While the time limits
ysis of the available evidence. To meet these goals, we deter-     used in each study reporting pregnancy associated long-term
mined that we should first seek to identify all record linkage     mortality should always be noted, this definition avoids
studies examining mortality rates associated with pregnancy        establishing any arbitrary time limits and prepares the way
outcome regardless, without any limitation on time frame.          toward calculating pregnancy associated mortality and life
This initial assessment would help us to identify any missed       expectancy rates relative to variables such as gravidity, par-
opportunities for examining pregnancy loss associated mor-         ity, live births, and exposure to pregnancy losses.
tality. Second, we seek to identify all record linkage studies         Abortion related deaths are defined by the CDC as any
that have specifically examined death rates associated with        “death from a direct complication of an [induced] abortion
pregnancy losses, including voluntary and therapeutic termi-       (legal or illegal), an indirect complication caused by a chain
nations. Using this subset of studies, we would then (a)           of events initiated by an abortion, or an aggravation of a pre-
develop a narrative synthesis of the common and specific           existing condition by the physiologic or psychologic effects



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of abortion.”27 The deliberate choice to place no time limit         excluding duplication of results when the same population of
on the definition of TOP related deaths reflects the fact that       women were examined in more than one study.
there is no clear temporal limit on physiological and psycho-
logical effects that may contribute to subsequent death.
                                                                     Information sources and search terms
   TOP associated deaths (or abortion associated deaths)
are herein defined as the subset of pregnancy associated             In July of 2015, a SCOPUS search was conducted using the
deaths which are within one year of a TOP. The one year              search ( ( ( TITLE-ABS-KEY ( maternal mortality ) OR
limit corresponds to that for “pregnancy associated deaths.”         TITLE-ABS-KEY ( maternal death ) ) ) AND ( ( TITLE-
   TOP associated long-term mortality is an extension of the         ABS-KEY ( record linkage ) OR TITLE-ABS-KEY ( linked
CDC’s “abortion related deaths” and include all deaths               records ) ) ) ) OR ( ( ( TITLE-ABS-KEY ( pregnancy associ-
among women with a history of TOP without regard to time.            ated mortality ) OR TITLE-ABS-KEY ( pregnancy associ-
Just as the systematic identification of early and late mater-       ated death ) ) ) AND ( ( TITLE-ABS-KEY ( record linkage )
nal deaths must be preceded by a systematic identification of        OR TITLE-ABS-KEY ( linked records ) ) ) ). A total of 458
pregnancy history, so the identification of abortion related         records of potential interest was returned.
deaths should be preceded by the systematic identification of           A MEDLINE search was conducted using the search
TOP history without a predefined time limit.                         ((“pregnancy associated mortality” OR “pregnancy associ-
                                                                     ated death”) AND (“record linkage” OR “linked records”))
                                                                     OR ((“record linkage” OR “linked records”) AND (“mater-
Materials and methods                                                nal mortality” OR “maternal death”)). This search returned
PRISMA guidelines were consulted and employed where                  20 references.
appropriate in the development and writing of this review.              Additional candidates were identified using the “snow-
                                                                     ball method,” the review of all references cited by eligible
                                                                     papers plus citations from other maternal mortality reviews.
Eligibility criteria
The first level of predefined eligibility criteria were: (1) the     Study selection. After elimination of duplicates, all titles and
study was available in English; (2) the study examined mortal-       abstracts were examined to identify publications with a pros-
ity rates of women relative to one or more pregnancy outcomes;       pect for meeting the predefined inclusion criteria. Those
and (3) the study included systematic linking of death certifi-      deemed candidates for inclusion were retrieved for full text
cates to independent records used to identify if the deceased        review and studied to determine which articles met the pre-
had one or more pregnancy outcomes within a year of her              determined inclusion criteria. Assessments of those studies
death. The independent records might be one of the following:        qualifying for both levels of inclusion criteria were con-
birth certificates, fetal death certificates, TOP registries, paid   ducted by two reviewers, with disagreements resolved by
insurance claims, or comprehensive hospital or medical records       discussion.
documenting treatments related to pregnancy.
    The second level of eligibility criteria was to identify all     Risk of bias. Studies qualifying for both levels of inclusion
publications meeting the first level of inclusion criteria           were scored for bias using the Newcastle-Ottawa Quality
which reported on death rates associated with any form of            Assessment Scale (NOQAS) for cohort studies.
pregnancy loss (miscarriage, legal TOP, ectopic pregnancy,
still birth, or any other failed pregnancy) as identified through    Data collection for descriptive summary of literature. Each
records independent of the death certificates. This step elimi-      study meeting the second level of eligibility was entered
nated studies that examined only mortality rates associated          into a table identifying the source, population size, time
with childbirth, or which failed to distinguish between deaths       period examined, types of pregnancy outcomes examined,
associated with childbirth and pregnancy loss. This step             means of identifying deaths and pregnancy outcomes, any
helped to both identify missed research opportunities and to         confounding variables that were examined in the study,
identify the eligible studies which do have information              NOQAS score, and a summary of major findings. The table
regarding mortality rates associated with pregnancy loss but         was completed by two reviewers, with disagreements
failed to report this data.                                          resolved by discussion.
    The third step was to identify studies eligible for inclu-
sion in a meta-analysis. This subset was drawn from the list         Data collection for meta analysis. To calculate the age adjusted
of studies meeting the second level of eligibility. This third       number of deaths in the first year for each subgroup’s popula-
level of eligible studies included only those that (a) report        tion for our meta-analysis we extracted data relative to the
mortality rates within one year for all three pregnancy out-         reported age adjusted risk of death during the first year follow-
comes of interest (childbirth, natural losses, and TOP) and          ing the pregnancy outcome from each country. To avoid dupli-
(b) provided the most recently relevant data, thereby                cation of cases, only the most recent study for each country



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Figure 1. Flow chart of search results, reasons for exclusion, and three levels of inclusion.


was used in the meta-analysis. Using the age adjusted mortal-           eliminated after full text review because they did not identify
ity rate of delivering women as the control in each case, odds          pregnancy history using record linkage. Three non-English
ratios and confidence limits for each subgroup (TOP vs birth,           studies were also identified, but their abstracts indicated that
and natural losses vs birth) and for each study were calculated         none included data on pregnancy loss associated mortality so
using EpiInfo 7’s StatCalc. These results were then entered             English translations were not sought. Thus, a total of 17 stud-
into the Comprehensive Meta Analysis software package to                ies were eliminated at this stage.
produce results using the fixed effects model.                             A total of 68 studies examining populations in 11 countries
                                                                        met the criteria for the first level of eligibility. All of the stud-
                                                                        ies identified significantly more maternal deaths than would
Results                                                                 have been identified by reliance on death certificates alone.
After removal of duplicates, a total of 989 titles were identi-            Of the 68 studies identified, 57 included record linkage of
fied by the combination of search terms and review of addi-             only birth and death records. In other words, they lacked any
tional references (Figure 1). Review of abstracts eliminated            data on deaths associated with pregnancy losses. The distri-
904 references. At the second level of review, 14 more were             bution by country of these studies was as follows: one in


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Bangladesh,28 one in Brazil,29 two in Canada,30,31 one in                     mortality is higher than miscarriage associated mortal-
Denmark,32 one in Italy,33 three in Netherlands,34–36 four in                 ity, which is higher than pregnancy and delivery asso-
Sweden,37–39 one in Taiwan,40 six in the United Kingdom,41–46                 ciated mortality. (Figure 2)
thirty-four in the United States including Puerto Rico,47–79             ••   TOP associated mortality rates are higher than birth
and three reporting data from multiple countries for which at                 associated mortality during the first 180 days89 and
least one country’s data used record linkage which met our                    remains higher for six or more years.89,90,92 (Figure 4)
criteria for inclusion.80–82                                             ••   Differences in pregnancy associated life expectancy
    The remaining 11 studies met the criteria for the second                  vary according to the type and number of exposures to
level of eligibility: reporting results of linkage of death cer-              various outcomes. Successful deliveries may mitigate
tificates to independent records of pregnancy loss. These                     some of the effects of pregnancy loss.90,92 (Figure 5)
included seven studies from Finland,1,83–88 two from                     ••   There is a dose effect, whereby exposure to multiple
Denmark,89,90 and two from the United States.91,92 Two of                     pregnancy losses increases the negative effect on life
these investigated only deaths in the year following TOP.88,91                expectancy whereas multiple births increases life
The remainder investigated pregnancy associated deaths                        expectancy.90 (Figure 6)
and/or pregnancy associated long-term mortality relative to              ••   The risk of death associated with pregnancy loss
both birth and pregnancy loss.                                                remains elevated even after controlling for psycho-
    Details of the eleven studies are summarized in Table 1. The              logical differences and economic class.92 (Figure 2)
column labelled “Confounding Variables Examined” identifies              ••   While the risk of death after pregnancy loss is most ele-
factors which were either (a) controlled for statistically, such as           vated in regard to deaths from violent causes,87,92 there is
was commonly done in regard to age of the woman, or (b) con-                  also evidence that when risk of death after pregnancy loss
trolled for by study design, such as restriction of the population            is tracked beyond one year a significant higher risk is also
to only the lowest economic class, or exclusion of women with                 associated with specific causes of natural death, such as
prior psychiatric history, or (c) controlled for by showing seg-              circulatory disease (RR = 2.87, 95% CI 1.68–4.89)92
regated results for discrete groups, such as married and unmar-
ried. The NOQAS assessment revealed that quality of these                 The meta-analysis used age adjusted mortality rates for
studies was very high, with low risk of bias. With a possible         each pregnancy outcome reported in most recent studies of
range from 0-9, (high corresponding to the highest quality)           the population of Finland86 and Denmark.89 While the eleven
only the one very earliest study scored below 8.                      studies included data on women in three countries, neither
    Figure 2 shows the mortality rate per 100,000 person years        American study reported age adjusted mortality rates for the
for each outcome reported by the latest studies from each of          first year after pregnancy outcome.
Finland, Denmark, and the United States, showing cumula-                  Figure 7 shows results of the meta-analysis using the
tive mortality rates for both one year and two years. The             fixed effects model. It illustrates the comparative risk of
graph illustrates that mortality rates remain elevated after          death in the first year after TOP compared to delivery and for
pregnancy loss beyond one year. Notably, the mortality rate           the first year after natural losses compared to delivery. The
over two years, comparing results from Denmark and                    risk of death during pregnancy and one year after a delivery
California, suggest that low income women are at higher risk          the age adjusted pregnancy associated risk of death was 170
but that socioeconomic effects do not fully explain the results.      percent higher following a TOP (RR = 2.705; 2.243 < 95%
Alternatively, the difference may be due to only first pregnan-       CI < 3.263), and 84 percent higher following natural losses
cies being examined in the Denmark study.                             (RR = 1.843; 1.420 < 95% CI < 2.392). For all pregnancy
    Figure 3 shows that the risk of death after pregnancy loss        losses compared to delivery, the risk was 137% higher
is most elevated in regard to deaths from external causes:            (RR = 2.374; 2.038 < 95% < 2.764; Q-value = 8.220, P = .042).
suicide, homicide, and accidents compared to both deliver-            The I2 statistic indicates that about 63% of the variation in
ing women and women who have not recently been preg-                  the overall results is due to heterogeneity rather than chance.
nant.87,92 The implication that psychological effects
associated with pregnancy loss may contribute to deaths
                                                                      Discussion
resulting from self-destructive or risk taking behavior is fur-
ther supported by a finding of higher rates of death attributed       Our systematic review found 68 studies employing record
to mental illness (RR = 3.21, 94% CI 1.11–9.27) following             linkage of death certificates to independent records of preg-
TOP, even after controlling for prior psychiatric history.92          nancy and pregnancy outcomes. In nearly every case, the
    As several the eleven studies undertook examined asso-            authors reported that record linkage significantly improved
ciations from a different perspective, a summary of their             the identification of maternal deaths and pregnancy associ-
most important findings, including figures illustrating many          ated deaths compared to reliance on death certificates alone.
of these findings, is provided below:                                 We concur with the opinion that the direct and indirect effects
                                                                      of pregnancy on women’s mortality rates cannot be accu-
   •• Pregnancy loss associated mortality may be over twice           rately accessed without record linkage between death certifi-
      that of birth associated mortality.1 TOP associated             cates and other medical records.1


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               Table 1. Record linkage studies examining deaths associated with one or more types of pregnancy loss with notes regarding key findings.

               Study              Population & Time     Records              Confounding        Quality      Summary of Major Findings
               (year)             Period                Examined and         Variables          Score*
               Country            (Births / TOP /       Linked               Examined           Range 0–9
                                  Natural Losses /
                                  Deaths)
               Shelton and        All fertile-aged      death certificates   none               6            In this exploratory study Georgia death certificates were used to identify ten
               Schoenbucher91     Georgia women in      TOP certificates                                     deaths preceded by an abortion, With an average observation period of 8 months,
               (1978)             1975–Feb 1976                                                              the one year abortion associated mortality rate was 75.5 per 100,000 cases.
               United States      (NA / 19,877 / NA /                                                        Deaths included 2 suicides (one four days after the TOP), 3 homicides (all within
                                  1,610)                                                                     4 months), 3 attributed to accidents, one sudden death from “coronary occlusion,”
                                                                                                             and one death from ovarian cancer (the woman was receiving chemotherapy at
                                                                                                             time of TOP). Record linkage was incomplete due to limited information on the
                                                                                                             TOP certificates.
               Gissler et al.83   All fertile-aged      death certificates   age                9            National suicide study. 1,347 suicides identified. No suicides while pregnant were
               (1996)             women, 1987–1994.     birth certificates   social class                    found. Compared to women not pregnant in the year prior to suicide, women who
               Finland            (513,472 / 93,807 /   TOP registry         marital status                  aborted were three times more likely to commit suicide (3.08, 95%CI 1.57 to 6.03),
                                  71,701 / 9,192)       hospital discharge                                   pregnant and delivering women were half as likely (0.52; 95%CI 0.19 to 1.41), and
                                                                                                             women who miscarried were not significantly different. Suicide risk was highest in
                                                                                                             first two months following the pregnancy outcome.
               Gissler et al.84   All fertile-aged      death certificates   age                8            All death certificates were linked to medical and TOP registry to identify pregnancy
               (1997)             women, 1987–1994.     birth certificates                                   within a year prior to death. Only 22% of pregnancies were identified on death
                                                                                                                                                                                                                         Case 2:22-cv-00223-Z Document 121 Filed 02/24/23




               Finland            (513,472 / 93,807 /   TOP registry                                         certificates. Record linkage to TOP and hospital discharge records doubled number
                                  71,701 / 9,192)       hospital discharge                                   of deaths identified compared to linkage to birth certificates alone. Compared
                                                                                                             to women not pregnant, the age adjusted mortality ratio was half for delivering
                                                                                                             women (0.50, 95%CI 0.32 to 0.78) and significantly higher following TOP (1.76,
                                                                                                             95%CI 1.27 to 2.42).
               Gissler and        All fertile-aged      death certificates   age                8            Compared to women who were not pregnant in the year before death, women
               Hemminki85         women, 1987–1994.     birth certificates                                   who had TOPs had an 81% higher rate of death (1.81, 95%CI 1.31 to 2.50), women
               (1999)             (513,472 / 93,807 /   TOP registry                                         who gave birth had a 53% lower risk of death (0.47, 95%CI 0.30 to 0.74), and
               Finland            71,701 / 9,192)       hospital discharge                                   those who miscarried were not significantly different (0.85, 95%CI 0.58 to 1.24).
                                                                                                             34% of deaths were from external causes. Women who had TOPs had significantly
                                                                                                             elevated risk of death from suicide, accidents, and homicides. Risk of death from
                                                                                                             natural causes was significantly lower for women giving birth (0.47, 95%CI 0.25 to
                                                                                                             0.86) and for women who miscarried (0.39, 95%CI 0.20 to 0.75).
                                                                                                                                                                                                                         Page 56 of 67 PageID 4221




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                                                                                                                                                                                                    SAGE Open Medicine
               Table 1. (Continued)

               Study              Population & Time       Records              Confounding         Quality     Summary of Major Findings
               (year)             Period                  Examined and         Variables           Score*
                                                                                                                                                                                                       Reardon and Thorp




               Country            (Births / TOP /         Linked               Examined            Range 0–9
                                  Natural Losses /
                                  Deaths)
               Reardon et al.92   Medicaid eligible and   death certificates   age                 9           Medical records for women with a Medicaid treated pregnancy in 1989 were linked
               (2002)             fertile aged women      all paid medical     economic class                  to death certificates. After controlling for psychiatric history and age, women who
               United States      in California with      claims               12–18 months                    had a TOP were at significantly higher risk of death. The relative risk was 2.03
                                  pregnancy outcome                            prior psychiatric               (95%CI 1.33 to 3.10) in the first two years following pregnancy outcome, 1.98
                                  in 1989                                      history                         (95%CI 1.25 to 3.15) in years three and four, and declined to an insignificant 1.35
                                  (116,936 / 56,343/                                                           (95%CI 0.89 to 2.05) in the fifth and sixth years, and 1.29 (95%CI 0.84 to 1.96) in
                                  NA / 1,294)                                                                  the seventh and eighth years. Multiple pregnancy outcomes significantly affected
                                                                                                               mortality rates. During the eight years following pregnancy, women who aborted
                                                                                                               had a significantly higher age-adjusted relative risk of death compared to delivering
                                                                                                               women from all causes (1.61, 95%CI 1.30 to 1.99), suicide (3.12, 95%CI 1.25 to
                                                                                                               7.78), and homicide (1.93, 95%CI 1.11 to 3.33), as well as from natural causes
                                                                                                               (1.44, 95%CI 1.08 to 1.91), circulatory diseases (2.00, 95%CI 1.00 to 3.99), and
                                                                                                               cerebrovascular disease (4.42, 95%CI 1.06 to 18.48).
               Gissler et al.1    All fertile-aged        death certificates   age                 8           All death certificates were examined. A total of 419 deaths were among women
               (2004)             women, 1987–2000.       birth certificates                                   pregnant in the year prior to death. Without record linkage, 73% of pregnancy
               Finland            (865,988 / 156,789 /    TOP registry                                         associated deaths would have been missed. Following live or still birth, 27% of
                                  118,490 / 15,823)       hospital discharge                                   deaths within 42 days and 78% of deaths from 43–364 days would have been
                                                                                                               missed without record linkage. Following TOP 71% of deaths within 42 days and
                                                                                                                                                                                                                           Case 2:22-cv-00223-Z Document 121 Filed 02/24/23




                                                                                                               97% of deaths between 43–364 days would have been missed without record
                                                                                                               linkage. Following miscarriage or ectopic pregnancy, 54% of deaths within 42 days
                                                                                                               of pregnancy outcome and 94% of deaths between 43–364 days would have been
                                                                                                               missed.
               Gissler86          All fertile-aged        death certificates   age                 8           One-year age adjusted mortality rates were calculated for women not pregnant
               (2004)             women, 1987–2000.       birth certificates                                   in the year prior to death and compared to age adjusted mortality rates of three
               Finland            (865,988 / 156,789 /    TOP registry                                         groups of women who were pregnant at death or during the year prior to death.
                                  118,490 / 15,823)       hospital discharge                                   The death per 100,000 was 57.0 for not recently pregnant women, 28.2 for
                                                                                                               delivering or pregnant women (RR 0.49, 95% CI 0.43–0.56), 51.9 for women who
                                                                                                               miscarried (RR 0.91, 95% CI 0.71 to 1.17), and 83.1 for women who had TOPs (RR
                                                                                                               1.45, 95% CI 1.22 to 1.73). Women aged 25–34 who had TOPs were significantly
                                                                                                               more likely to die of circulatory system disease compared to not recently
                                                                                                               pregnant women, delivering women, and those who miscarried (rates per 100,000,
                                                                                                               respectively: 8.7; 4.4; 3.3; 1.5).
                                                                                                                                                                                         (Continued)
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               Table 1. (Continued)

               Study              Population & Time        Records              Confounding          Quality      Summary of Major Findings
               (year)             Period                   Examined and         Variables            Score*
               Country            (Births / TOP /          Linked               Examined             Range 0–9
                                  Natural Losses /
                                  Deaths)
               Gissler et al.87   All fertile-aged         death certificates   age                  8            This study examined only deaths from external causes. The death rate from
               (2005)             women, 1987–2000.        birth certificates                                     external causes per 100,000 was 24.2 for women who had not been pregnant, 10.2
               Finland            (865,988 / 156,789 /     TOP registry                                           for those giving birth, 35.2 for those with natural losses, and 60.3 for those who
                                  118,490 / 15,823)        hospital discharge                                     had TOPs. The tables present segregated results show death rates from suicide,
                                                                                                                  homicide, and those classified as accidental varied significantly by age and pregnancy
                                                                                                                  outcome. The authors endorse recommendations for routine post-TOP checkup
                                                                                                                  screening for depression and psychosis in the weeks following a TOP.
               Reardon and        All fertile-aged         death certificates   first pregnancy      9            Age and maternal birth year adjusted mortality rates following first pregnancy
               Coleman89          whose first              birth certificates   age at time of                    outcomes were calculated over numerous time periods. Deaths rates for the first
               (2012)             pregnancy was in         TOP registry         pregnancy;                        and second year are shown in Figure 1. Cumulative TOP associated mortality was
               Denmark            1980–2004.               hospital discharge   year of woman’s                   significantly higher for every time period examined from 180 days to 10 years for
                                  (318,646 / 119,179 /                          birth                             both early and later TOP. The cumulative odds ratio for early TOP declined from a
                                  25,648 / 2,238)                                                                 high at 180 days (2.03, 95% CI 1.11 to 3.71) to a low at ten years (1.39, 95% CI 1.22
                                                                                                                  to 1.60). Mortality rates associated with miscarriages were lower than for TOP and
                                                                                                                  were significantly higher than for birth for periods over four years.
               Coleman            All fertile-aged         death certificates   year of woman’s      9            This study examined all causes of death using 25 years of data using numerous
               et al.90           women, 1980–2004.        birth certificates   birth                             control variables, including exposure rate to various pregnancy outcomes. A dose
               (2013)             (438,134 / 171,582 /     TOP registry         age at last                       effect was observed as shown in Figure 6. Exposure to various combinations of
               Denmark            111,205 / 5,137)         hospital discharge   pregnancy                         pregnancy outcomes was significant. The rate per 100,000 was 352 experiencing
                                                                                                                                                                                                                                Case 2:22-cv-00223-Z Document 121 Filed 02/24/23




                                                                                number of births                  only births, 365 for those with both birth and natural losses, 541 for those with
                                                                                number of TOPs                    both births and TOP, 549 for those with no pregnancies, 550 for those with births,
                                                                                number natural                    TOP and natural losses, 805 for those with only natural losses, and 1281 for
                                                                                losses                            those with only TOP. These findings suggest that TOP combined with natural loss
                                                                                                                  compounds the risk of reduced longevity while a successful birth may reduce the
                                                                                                                  risks associated with pregnancy loss.
               Gissler et al.88   All fertile-aged         death certificates   age                  8            Based on prior research associating TOP with higher suicide rates, unofficial
               (2014)             women, 1987–2012.        TOP registry                                           guidelines in Sweden recommended 2–3 week post-TOP assessments of
               Finland            (NA / 284,751 / NA                                                              psychological adjustment. These guidelines were made official in 2001. This study
                                  / 3,798)                                                                        sought to examine if the guidelines adopted in 1996 may have reduced TOP
                                                                                                                  associated suicide rates. The elevated risk of suicide after TOP declined from 2.84
                                                                                                                  (95% CI, 2.05 to 2.93) before 1997 to 2.44 (1.80 to 3.32) for 1997 thru 2012, but
                                                                                                                  the drop was not statistically significant.

               *Details of the Quality Score assessment can be viewed at: https://docs.google.com/spreadsheets/d/1T0GySPufF4MXnuTNwmiDgcqHf1yh66Ulso1AotTP8IQ/edit?usp=sharing
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Reardon and Thorp                                                                                                                      9




Figure 2. Cumulative Age Adjusted, All Cause Mortality Rates per 100,000 Women for One and Two Year Periods Following
Pregnancy Outcome.


   This systematic review also revealed that every record               reports from mental health professionals and surveys of women
linkage study examining mortality rates relative to different           struggling with pregnancy loss issues heightened risk taking
pregnancy outcomes has revealed that pregnancy loss is asso-            and self-destructive behaviors are reported which may contrib-
ciated with a higher risk of death than childbirth. These studies       ute to rates of accidents and homicide, in addition to suicide.93
also show that this elevated mortality risk persists over many          Risk of death from accidents and homicide may also be
years, is multiplied by repeat exposure to pregnancy loss, and          impacted by the elevated risk of substance abuse associated
may be reduced by successful deliveries. The quality of these           with TOP.10–12 This hypothesis is supported by one U.K. study
eleven studies is very high, with all but the one earliest attempt      of pregnancy associated deaths that reported that1 a major por-
scoring 8 or above on the NCQAS (with a range 0–9).                     tion of accidental deaths were due to drug overdose, and2 of
   Overall, the meta-analysis revealed that pregnancy loss asso-        eight women who died after being struck by cars as pedestrians,
ciated mortality is more than double that of delivery associated        seven were drug users.43 These findings underscore the impor-
mortality. Notably, the Danish data used in the meta-analysis           tance of record linkage as a precursor to efforts to evaluate
included only first pregnancy outcomes while the Finnish data           “abortion related deaths,” as defined by the CDC.27
included all pregnancy outcomes. This may explain the higher
pregnancy loss mortality rate observed in the Finnish data since
                                                                        Strengths and weaknesses
a significant portion of the Finnish subjects would have been
exposed to multiple pregnancy losses for which a dose effect of         A strength of the narrative portion of this review is that
increased mortality risk has been observed.90                           while only 11 of 68 record linkage studies of mortality rates
   A disproportionate share of pregnancy loss associated deaths         associated with pregnancy included examination of deaths
are due to suicides, accidents, or homicide.83,86,87,92 In case study   associated with pregnancy losses, these eleven examined a



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Figure 3. Cumulative Age Adjusted, Violent Cause Mortality Rates per 100,000 Women for One and Two Year Periods Following
Pregnancy Outcome.
*Mortality rates shown were also adjusted for one year pre-pregnancy psychiatric history.


variety of different time frames and confounding variables,                        A major weakness of our meta-analysis is that data on mor-
including economic class, marital status, age, number and                      tality rates in the first year following pregnancy losses were
types of prior pregnancy outcomes, and prior psychiatric                       only available from two countries, which highlights the failure
history. At the same time, however, it is also a weakness that                 of most researchers to address this issue. In addition, a minor
all of these confounding variable were not addressed in                        weakness is that the Danish study included stillbirths in the
every study. The fact that all of these studies, despite varia-                natural loss grouping while in the Finnish study stillbirths were
tions, showed a consistent trend in findings indicates that                    included in delivery category. Since the number of stillbirths
the trend is a real one and is likely to replicated if applied to              were not reported, we could not adjust for this difference. But
other populations.                                                             given the expected low number of stillbirths, this difference in
    Clearly, a priority of future research should examine a                    categorization is very unlikely to have a major impact on the
broader number of confounding variables across more popula-                    results. Another inconsistency is that all the studies from
tions to better understand the direct and indirect pathways and                Finland included deaths during pregnancy in with deaths fol-
co-occurring risk factors that may guide future interventions.                 lowing a delivery (live or stillbirth), potentially adding nine
Future studies should seek to control for potential confounders                months mortality risk to the one-year post-delivery mortality
including: income inequality, psychiatric history, access to                   rate. This would tend to inflate deaths associated with delivery.
medical care including birth control, intimate partner violence,               Reporting deaths during pregnancy as a separate item would be
intentionality of pregnancy, and level of maternal attachment                  preferable. These points highlight why more consistent classi-
to the pregnancy.                                                              fication standards would be helpful in future research.



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Reardon and Thorp                                                                                                                   11




Figure 4. Death rates following first pregnancy outcome through 180 days and during each of the first through tenth years after
pregnancy outcome.




Figure 5. Adjusted odds ratios for pregnancy associated long-term mortality by exposure to types of pregnancy outcomes. Adjusting
for age at last pregnancy and number of pregnancies.


   In our opinion, any pregnancy that fails to produce a live        identified through medical records and insurance claims, as
birth should be treated as a pregnancy loss since there may          shown by researchers in the United Kingdom,15 Canada,22
be grief issues impacting future health. Rare cases of multi-        and in the United States.91,92 Unfortunately, except for these
ple gestations including both live birth and fetal loss are con-     rare exceptions, most of the leading investigations into preg-
founding and should be excluded from more general analyses           nancy associated deaths in Canada, the United Kingdom and
or treated as a separate group.                                      the USA have failed to use these same techniques to investi-
                                                                     gate deaths associated with TOP or miscarriage.
                                                                         Another missed opportunity appears to have occurred in a
Future research and missed opportunities
                                                                     study of Italian women33 in which researchers report that they
Unfortunately, many opportunities to investigate pregnancy           did, in fact, link death certificates to records of terminations
associated mortality and long-term mortality have been missed,       and miscarriages, but unfortunately their published analyses
to date. Our literature review found that only 11 of 68 record       failed to provide any breakdown of death rates relative to each
linkage studies (and only 2 of 37 studies in the United States)      pregnancy outcome. Our request for a breakdown of deaths
explored mortality rates associated with pregnancy loss.             associated with each type of pregnancy outcome was rejected.
    This oversight can and should be corrected. Even in coun-            The failure of so many studies to report on pregnancy
tries without central TOP registries, such as exist in Finland       loss associated deaths indicates that there may be a risk of
and Denmark, exposure to TOP and miscarriage can be                  reporting bias. For example, social, political, or academic

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Figure 6. Adjusted Odds Ratios for Pregnancy Associated Long Term Mortality Rates by Frequency of Exposure to Each Pregnancy
Outcome—Denmark 1980–2004.
Group 1. The odds ratios for exposure to abortion are adjusted for age at last pregnancy, number of births and number of natural losses.
Group 2. The odds ratios for exposure to natural loss are adjusted for age at last pregnancy, number of births and number of abortions.
Group 3. The odds ratios for exposure to birth are adjusted for age at last pregnancy, number of natural losses and number of abortions.
All data from Table 4 of Coleman PK et al.90




Figure 7. Meta-Analysis of Age Adjusted One Year Mortality Rates Associated with Comparative Pregnancy Outcomes.


sensitivities relative to efforts to promote legalization of                  regarding the elevated mortality rates associated with
safe abortion in developing countries may produce a bias                      pregnancy loss. In either case, it is clear that in most coun-
against investigating and/or publishing findings that may                     tries where record linkage studies have been performed
show TOP is associated with an increase in mortality                          there are no structural obstacles to expanding record link-
rates.94,95 On the other hand, even though such findings                      age studies to include pregnancy loss associated mortality.
have been reported since at least 1997,83,84 there may also                   What is required is simply the academic and/or political
be lack of sufficient awareness among researchers                             will to undertake such investigations.

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Reardon and Thorp                                                                                                               13

   What is already sufficiently clear is that mortality rates      previously have these problems.13 Another important study
and longevity are significantly affected by exposure to preg-      examined hospital admission rates for attempted suicide rates
nancy losses, whether natural or induced. Therefore, in the        prior to pregnancy and after a TOP15 and revealed a signifi-
interests of patients, future investigations into pregnancy        cant and dramatic shift from a “normal” rate of suicide
associated mortality should all include efforts to identify and    attempts to an elevated rate after TOP, as seen in Figure 8.
report on the comparative effects associated with prior expo-      These findings led the researchers to conclude that “the
sure to TOP, miscarriage, and other natural losses. Such           increased risk of suicide after an induced abortion may there-
research is necessary to guide the development of better           fore be a consequence of the procedure itself.”
screening and treatment strategies for those subsets of                Another factor to consider regarding the question of cau-
women who may most benefit from targeted interventions.            sality is that negative effects may be substantially limited to
                                                                   small subgroups of women who are at greater risk. For exam-
Incidental or causal relationships?                                ple, experts on “both sides” of the legal abortion controversy
                                                                   are actually in agreement regarding the evidence that women
As discussed above, termination of pregnancy remains a sen-        who feel coerced or pressured into unwanted TOP are at
sitive and politically charged issue, for both those who defend    greater risk of serious complications, including elevated self-
it as a fundamental woman’s right and those who oppose it for      destructive tendencies.98 If we were to hypothesize, then, that
moral reasons. In our experience, these passions often inspire     all of the elevated risk of death associated with TOP reported
a hypercritical level of suspicion regarding any epidemiologi-     in the studies we examined are limited to cases of coerced
cal findings which run counter to preconceived expectations.       TOP, it would then follow that the findings reported herein
    For readers to access their own biases regarding this sub-     may be an indirect measure of the frequency of coerced TOP.
ject matter, simply imagine if our results were all reversed       Such a conclusion would only further underscore the impor-
and the risk of death in the year following a TOP was half         tance of the clinical recommendations offered in the next
that associated with childbirth. Would the reader consider         section.
such reversed results more comfortable or more disturbing?             Perhaps the most powerful evidence that pregnancy loss
Would such results provoke more confidence in the value of         contributes directly to mental health problems is the fre-
record linkage studies or more suspicion?                          quency with which self-aware, introspective women specifi-
    In either event, it is important to interpret these findings   cally attribute the onset or worsening of substance use,
in as balanced a perspective as possible. Correlation does not     depression, flashbacks, sexual dysfunction, self-destructive
prove causation. There may be common risk factors for preg-        tendencies and other issues to their pregnancy loss experi-
nancy loss which explain the elevated risks.96 Indeed, given       ences.93,99,100 These self-assessments are further validated by
the fact that a disproportionate number of deaths associated       therapists treating women for pregnancy loss related
with prior pregnancy loss are due to suicide and accidents, it     issues.101,102 Additionally, evidence that post-abortion coun-
would appear that causal contribution would most likely be         selling programs reduce symptoms of psychological ill-
indirect and chiefly mediated by psychological effects which       ness103 also support the hypothesis that TOP can trigger or
are known to occur among women who experience a preg-              exacerbate psychological illness; after all, an effective treat-
nancy loss.2–10,17–19 Moreover, the finding that there preg-       ment is evidence for an accurate diagnosis.
nancy loss has a dose effect on increased risk of death90              We are not asserting that pregnancy loss is the sole cause
(Figure 6) strongly parallels the finding of pregnancy loss        of the elevated risk of death identified in these studies, but
having a dose effect on increased risk of mental illness.2,5,13    rather that there is ample evidence to believe pregnancy loss
    But even if the elevated risks can be entirely explained by    can be a contributing cause. The discussion above is therefore
common risk factors, it is critically important to acknowl-        intended to emphasize the importance of research designed to
edge that these findings are still clinically relevant and very    better understand the causal pathways and co-occurring risk
useful. Why?                                                       factors which can then be used to better identify women who
    Because a history of pregnancy loss is at least a useful       may benefit from appropriate interventions.
marker for identifying women who may need additional
screening, counselling and care. Therefore, alert clinicians
can and should screen for a history of pregnancy loss in order     Clinical recommendations
to use this actionable information as detailed in our clinical     Clinician’s should be alert to the fact that a history of any
recommendations below. How this marker may be used to              pregnancy loss may impact many aspects of women’s lives.
provide better screening and referrals will be discussed more      Prior pregnancy losses, voluntary or involuntary, are also
fully in the next section.                                         sensitive issues for many women which they may hesitate to
    Additional support for a causal interpretation is found in     dicuss. Therefore, it is highly recommended that as a stand-
studies which have identified the first onset of psychological     ard intake question, or in periodic updating with patients,
problems, such as sleep disorders17 or substance abuse,97          clinicians should make a gentle, non-judgmental query:
soon after a pregnancy loss among women who did not                “Have you had any pregnancy losses, like a miscarriage,



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Figure 8. Rate of treatments for attempted suicide before and after delivery or TOP.

abortion, or still birth?” This query, which non-judgmentally       APA identified screening criteria should be used on at least four
names each type of pregnancy loss, gives women permission           occasions: (a) when women seeking mental health care report
to discuss any sensitive feelings regarding past pregnancy          any history of pregnancy loss, (b) when women are seeking
losses and also opens up opportunities to discuss any linger-       care in anticipation of becoming pregnant, (c) upon diagnosis
ing or intermittent concerns.                                       of a pregnancy, and (d) before termination of a pregnancy.
   When women do report a prior pregnancy loss, or for
women considering a termination of pregnancy, we recom-
                                                                    Summary
mend that clinicians should then investigate if additional risk
factors are present. Especially useful in this regard, at least     Deaths associated with pregnancy, both within the first year
15 risk factors for more severe reactions following TOP             and beyond, are significantly different relative to pregnancy
which have been identified by American Psychological                outcome. Births have a positive effect on longevity while
Association Task Force on Mental Health and Abortion.104            pregnancy losses have a negative effect, with negative effect
With slight modification, these risk factors can also be            of TOP being greater than that of natural losses. Multiple preg-
applied to miscarriage and other natural losses. They are:          nancy losses are especially problematic. Pregnancy loss is at
                                                                    least a marker for adverse maternal outcomes, but is most
     •• terminating a pregnancy that is wanted or                   likely a contributing risk factor driven by psychological
        meaningful                                                  stresses related to pregnancy loss.2–22
     •• perceived pressure from others to terminate a                   Many opportunities to investigate pregnancy loss associ-
        pregnancy                                                   ated long-term mortality rates have been missed. Future
     •• perceived opposition to the abortion from partners,         investigations into maternal mortality and pregnancy associ-
        family, and/or friends                                      ated mortality should include systematic record linkage to
     •• lack of perceived social support from others                medical and insurance records to identify pregnancy losses so
     •• various personality traits (e.g., low self-esteem, a pes-   that these patterns and risk factors can be better understood.
        simistic outlook, low-perceived control over life)              Screening for a history of pregnancy loss (induced or
     •• a history of mental health problems prior to the            natural) is highly recommended as a means of identifying
        pregnancy                                                   women who may benefit from additional counselling and
     •• feelings of stigma; perceived need for secrecy              interventions. Screening for risk factors associated with
     •• exposure to antiabortion picketing                          more psychological maladjustments following TOP, as iden-
     •• use of avoidance and denial coping strategies               tified by the APA,104 is also highly recommended.
     •• feelings of commitment to the pregnancy
     •• ambivalence about the abortion decision                     Declaration of conflicting interests
     •• low perceived ability to cope with the abortion             The author(s) declared no potential conflicts of interest with respect
     •• history of prior abortion                                   to the research, authorship, and/or publication of this article.
     •• late term abortion.
                                                                    Funding
    These risk factors can and should be used to identify women     The author(s) disclosed receipt of the following financial support
who may need more counselling and other services. Given the         for the research, authorship, and/or publication of this article: No
dose effects observed, screening for a history of pregnancy loss    grants or outside funding were used. David Reardon’s efforts were
is especially important in preparing treatment plans for women      funded as part of his regular duties as Director of Research with the
in all subsequent pregnancies. Therefore, we recommend the          Elliot Institute. John Thorp’s efforts were not funded.



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Reardon and Thorp                                                                                                                     15

Ethical approval                                                        13. Sullins DP. Abortion, substance abuse and mental health in
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Ethical approval was not sought for the present study because it is a
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Informed consent
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